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                                          Jackson, MS




                                          January 6, 2017

                               Expert report of Alan E. Jones, MD

               Dora Mingo, et al v. Janssen Research and Development, LLC, et al



          Introduction
          I am Chairman and Professor of Emergency Medicine at the University of
          Mississippi Medical Center in Jackson, Mississippi, and I actively practice
          emergency medicine as my full time profession. I am Past President and a past
          board member of the Society for Academic Emergency Medicine, which is a
          leading professional organization of emergency medicine physicians in the
          United States. From 2012 to 2014, I served as Chairman of the American
          College of Emergency Physicians Research Committee. I am residency trained
          and board certified in emergency medicine and am a diplomat of the American
          Board of Emergency Medicine. Currently, I serve as a peer reviewer to more
          than 30 medical journals, including American Journal of Emergency Medicine,
          Annals of Emergency Medicine, and Chest. I am on the Editorial Board of
          more than 10 medical journals, including Annals of Emergency Medicine,
          Academic Emergency Medicine, and Journal of Emergency Medicine and
          Critical Care. Between 2006 and 2014, I served as an invited moderator at 20
          national and international meetings. I have published more than 130 articles in
          the peer-reviewed literature.


          I have particular expertise in venous thromboembolism and anticoagulation by
          virtue of the fact that I have studied and written on the diagnosis and treatment
          of venous thromboembolism extensively throughout my career. I have
          received funding from the National Institutes of Health and other entities to
          study the pathophysiology and treatment of venous thromboembolism. As an

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          emergency medicine physician, I regularly diagnose and manage patients with
          thrombosis, patients on oral anticoagulants, and I prescribe oral anticoagulation
          routinely. I train residents in identifying and treating thrombosis, and
          managing anticoagulation. I also regularly diagnose and manage patients with
          gastrointestinal bleeding, including patients with GIB on oral anticoagulants.


          Further details on my education, training, professional activities, and research
          and publications can be found in my curriculum vitae, including all articles I
          have published in the previous ten years, attached as Exhibit A. I also attach a
          list of legal cases in which I have provided testimony at trial or deposition as
          an expert witness in the last 4 years, as Exhibit B. A fee schedule of my rates
          for work on this case is attached, as Exhibit C.


          Deep Venous Thrombosis
          Deep vein thrombosis (DVT) is a disease caused by excessive fibrin
          production due to the action of thrombin on fibrinogen resulting in a clot in the
          venous system of a deep vein. Venous injury, slow blood flow and
          hypercoagulability are the major mechanisms for inducing DVT. DVT is
          represented by a spectrum from complete occlusion of the illeofemoral venous
          system to clots of the deep veins of the calf. In the United States, DVT results
          in about 600,000 hospitalizations per year. Lower extremity DVT is much
          more common as compared to upper extremity. Anatomically, proximal DVT
          refers to a thrombosis in the veins proximal to the popliteal vein and distal
          DVT refers to isolated calf vein thrombosis.


          The initial symptoms of DVT can range from mild pain and cramping to severe
          swelling, pain and obstruction of blood flow. The typical clinical presentation
          of lower extremity DVT consists of some combination of leg pain, edema,

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          erythema, warmth, tenderness to palpation, dilation of superficial veins, and
          palpable venous system. The diagnosis is usually made by clinical suspicion
          prompting investigation using venous duplex ultrasonography, which has a
          sensitivity and specificity of up to 95% for proximal DVT and is the diagnostic
          test of choice.


          After the diagnosis of DVT is established, anticoagulation should be initiated
          unless there are patient specific contraindications. Treatment can consist of the
          use of unfractionated or low molecular weight heparin initially with transition
          to oral vitamin K antagonists (warfarin) for 3 months. Until the approval of
          new oral anticoagulants (NOACs), warfarin was the only option. However, the
          EINSTEIN and XALIA trials demonstrated the comparable efficacy and safety
          of Xarelto compared to heparin-warfarin combination for the treatment of
          DVT and Xarelto is FDA approved for the treatment of DVT.


          Gastrointestinal Bleeding
          Gastrointestinal bleeding (GIB) is a common occurrence and is a very common
          cause for hospitalization, with some estimates of more than 1 million
          hospitalizations annually in the United States. GIB is classified according to
          the site of bleeding as upper or lower. Upper GIB is more common than lower
          GIB and carries a higher mortality rate.


          The most common causes of upper GIB are peptic ulcer disease (PUD),
          esophagogastric varices, and mucosal tears. The most common causes of lower
          GIB are diverticular disease, angiodysplasia, colitis and neoplasm. Peptic ulcer
          disease has several major risk factors, including Helicobacter Pylori infection,
          chronic use of non-steroidal anti-inflammatory drugs, such as aspirin, and


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          smoking. Known risk factors and clinical characteristics of high risk patients
          that develop GIB include:
                 1) The use of medications such as aspirin, nonsteroidal anti-
                       inflammatory drugs, and corticosteroids that predispose to peptic
                       ulcer formation;
                 2) The use of medications such as anticoagulants (Coumadin/warfarin,
                       Lovenox, Xarelto) and antiplatelet agents (aspirin) that potentiate
                       bleeding when present;
                 3) Preexisting medical conditions, including peptic ulcer disease, liver
                       disease, alcoholism, congestive heart failure, diabetes, chronic renal
                       failure and coronary artery disease;
                 4) Environmental factors such as smoking and alcohol consumption;
                       and
                 5) Advancing age.


          The usual approach to the clinical management of a patient with suspected GIB
          is to evaluate vital signs and perform a history and physical examination to
          determine if bleeding is apparent. Hypotension and tachycardia suggest
          hypovolemia from blood loss. Physical examination should evaluate for
          evidence of anemia such as pallor or cold skin. Rectal examination and stool
          hemoccult testing can help determine an obvious source of bleeding, such as
          hemorrhoids, and either the presence of gross GIB or occult (non-gross
          bleeding).


          Laboratory studies can assist in the management and risk stratification of
          patients with GIB. Typical testing includes evaluation of the patient’s
          hemoglobin, platelets, renal and liver function, and coagulation studies.
          Coagulation studies are typically done to determine if coagulopathy is present

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          and what impact it may have on the patient’s blood loss. These tests are not
          used in isolation but in combination with the clinical assessment of the patient
          to determine which therapies to use and how rapidly those therapies should be
          administered. These tests are required as a matter of routine in patients taking
          warfarin to determine the degree of anticoagulation, given the narrow
          therapeutic range and extensive drug and food interactions.


          Gastrointestinal Bleeding and Anticoagulants
          Owing to its predictable pharmacokinetics, patients taking Xarelto do not
          require routine laboratory monitoring of coagulation tests. Different
          thromboplastin reagents used in the prothrombin time (PT) tests that are
          currently available result in variability in the test result that is too large to be
          accurate for samples containing the same concentrations of Xarelto. This
          variation is caused by different sensitivities of the reagents to Xarelto, possibly
          caused by interactions between Factor Xa inhibitors and phospholipids in
          thromboplastin reagents. This variability is not corrected by conversion of PT
          to INR values. The INR has been developed specifically for monitoring
          anticoagulation vitamin K antagonists and, therefore, should not be used for
          Xarelto. In fact, conversion of PT to INR values can increase the variability. A
          PT assay using a thromboplastin reagent sensitive to Xarelto (such as
          Neoplastin Plus®; Diagnostica Stago, Asnières-sur-Seine, France) may be
          useful to indicate whether the anticoagulant effect of Xarelto is present,
          provided that the patient's baseline PT is not abnormal; however, specific
          guidance for this type of assay in clinical use is not yet available and,
          therefore, is not considered standard. In addition, different PT assays use
          different reagents to measure the activity of the clotting pathway, and some of
          those reagents are not sensitive to the effects of Xarelto. In the cases of PT


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          assays where the reagent is not sensitive to Xarelto, a PT result can indicate a
          normal result, despite the patient being anticoagulated on Xarelto.


          It should be noted that ordering coagulation tests in a bleeding patient may be
          used by a clinician for several possible reasons: 1) to establish a baseline level
          in the event that future changes in a patients condition warrants ongoing
          surveillance or intervention; and 2) to determine the balance of the coagulation
          cascade, including if any effect of an anticoagulant is still present. In the
          absence of use of monitoring of vitamin K antagonists, the use of PT or other
          coagulation tests in the clinical setting are typically performed to establish a
          baseline or indicate the presence of an occult underlying disease process such
          as liver disease, malignancy or hematologic disorder. In a bleeding patient or a
          patient that would potentially receive a medication to affect the coagulation
          system, the measurement of coagulation tests is done as a matter of routine.
          PT is just one piece of information among many pieces that are gathered to
          guide the clinician as to the ultimate management of the patient, given that
          patient’s specific set of circumstances.


          Empirical management principles for GIB vary depending on the site and rate
          of bleeding. In general supportive care in the form of fluid resuscitation and
          cardiopulmonary monitoring are provided. The first determination a clinician
          must make is if the patient is stable or unstable. This is typically done through
          the use of vital signs in combination with clinical assessment. Patients with
          unstable vital signs and/or evidence of shock physiology on clinical assessment
          suggest instability that requires emergent intervention to prevent future
          morbidity. Stable patients typically can follow a less time sensitive course and
          undergo urgent rather than emergent evaluation and intervention.


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          Blood and blood product transfusions are given when there is specific
          indication. Other medications such as acid suppression agents, pro-kinetic
          agents, antibiotics and anti-fibrinolytic agents are given in some situations.
          Diagnostic and therapeutic endoscopy is often performed.


          When GIB occurs in patients on anticoagulants, the same general management
          supportive principles apply in the form of fluid resuscitation, cardiopulmonary
          monitoring, and blood product transfusions. Patients receiving oral
          anticoagulation with Coumadin/warfarin can be given vitamin K in order to
          overcome the competitive block produced by Coumadin/warfarin; however the
          effect of vitamin K is both dose dependent and may be delayed for several
          hours while liver synthesis of clotting factors (II, VII, IX, X) are initiated and
          reach adequate levels in the plasma. Other options for bleeding on
          Coumadin/warfarin include administration of fresh frozen plasma or
          prothrombin complex concentrate in order to directly replace vitamin K
          dependent clotting factors (II, VII, IX, X). It should be noted that the decision
          to administer a reversal agent to a patient on anticoagulation should only be
          done after careful consideration of the risks versus benefits by the clinician.
          Risks associated with occurrence or recurrence of the original indication for
          anticoagulation (thrombus development) may outweigh the benefit of reversal
          as compared to anticoagulant discontinuation and supportive care. These
          decisions are patient specific and should also take into account the clinical
          scenario, site and rapidity of the bleeding, and the clinical stability of the
          patient.


          The new oral anticoagulant Xarelto is a direct factor Xa inhibitor that has
          predictable pharmacokinetics profiles making it unnecessary to perform
          routine laboratory monitoring on patients taking the medication. Xarelto has a

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          rapid onset of action after oral intake, a short half-life, no food or alcohol
          interactions and very few drug interactions. While no direct antidote is
          available for Xarelto, the administration of 4-factor prothrombin complex
          concentrate (either activated or not) has been reported to be beneficial in
          completely reversing the effects of the medication. Use of procoagulant drugs
          (antifibrinolytics) might also be considered is certain cases.


          Dora Mingo
          I have reviewed the medical records of Dora Mingo, the depositions of Dora
          Mingo and her treating physicians, Dr. Renie Jordan and Dr. Stephen Keith, as
          well as medical literature pertinent to the case. I have also reviewed the expert
          reports of Dr. Henry Rinder and Dr. Curt Furberg. The documents I have
          reviewed are attached as Exhibit D. In addition to these materials, I am basing
          my opinions on my education, training and experience as an active practicing
          physician and medical educator.


          As of June 4, 2014, Ms. Mingo had a past medical history of hypertension,
          diabetes, hypercholesterolemia, osteoarthritis and insomnia. She had a past
          surgical history of cholecystectomy and was a regular smoker. She was taking
          the following medications regularly: amlodipine-olmesartan, furosemide,
          metformin, aspirin, Flonase, Lovastatin, potassium chloride, alprazolam,
          meloxicam and hydrocodone-acetaminophen. She was 5 foot 2 inches tall and
          weighed 185 pounds. She had begun a work up for chronic kidney disease,
          although her estimated glomerular filtration rates were mostly always above
          60.


          Ms. Mingo underwent right total hip arthroplasty performed by Dr. Gandy on
          January 6, 2015, with an estimated blood loss of 30 ml. Post-operatively she

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          had two hemovac drains that drained a total of 335 ml of serosangenous fluid
          from 1/6/15-1/9/15 when they were removed. Ms. Mingo was started on
          Lovenox 40 mg subcutaneous every day on January 7, 2015. She was
          continued on Lovenox while in the hospital (1/7/15-1/9/15) and then
          discharged home with instructions for the same dose of Lovenox to be
          administered by home health nursing for 7 more days. According to the home
          health records, Ms. Mingo’s daughter was administering daily Lovenox
          injections as ordered. On January 17, her aspirin dose was increased from
          81mg a day to 325 mg a day. Ms. Mingo’s laboratory work shows a pre-
          procedure hemoglobin of 12.6 g/dl on December 29, 2014. Her immediate
          post-procedure hemoglobin was 10.2 g/dl on January 7, 2015. Her hemoglobin
          decreased further to 9.7 g/dl on January 8, and 8.7 g/dl on January 9, 2015. She
          was on Lovenox 40 mg and aspirin 81 mg during this entire time period. The
          next hemoglobin measured was on January 22, 2015, and was found to be 11.2
          g/dl but by that time she had been off Lovenox since January 16, 2015. In total
          this represents a 4 g/dl drop in her hemoglobin peri-operatively.


          On January 21, 2015, Ms. Mingo visited Dr. Gholson with complaints of
          bilateral lower extremity swelling. On January 22, 2015, a bilateral lower
          extremity Doppler ultrasound study was performed which revealed an
          occlusive thrombus in the anterior proximal peroneal vein in the right leg. Ms.
          Mingo was sent to Southwest Mississippi Regional Medical Center and in the
          emergency room was started on enoxaparin 89 mg subcutaneous and admitted
          to the hospital. She received a single dose of Coumadin 10 mg on January 22,
          2015 at 2217. After admission, Ms. Mingo was transitioned to Xarelto 15 mg
          twice a day for 21 days on January 23, 2015, which was an appropriate dose
          for her given that her creatinine was 1.14 mg/dl on January 22, 2015, equating
          to a creatinine clearance of 68 ml/min. On January 22, 2015, her hemoglobin

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          was 11.2 g/dl. She was discharged on January 24, 2015, with instructions to
          discontinue the use of aspirin 325 mg. Home health orders dated January 27,
          2015, indicate a new medication order for aspirin 325 mg.


          On February 2, 2015 Ms. Mingo presented to the emergency department at
          King’s Daughters Medical Center and was evaluated by Dr. Hercules. She
          complained of bilateral lower extremity swelling and pain. At that time Ms.
          Mingo denied black or bloody stools. On examination she was in no distress
          with a normal blood pressure of 125/69 and heart rate of 117. She was noted to
          have “weakly heme-positive stool” that was brown. Her labs on February 2,
          2015, revealed a creatinine of 1.0 mg/dl and a hemoglobin of 8.6 g/dl. It was
          recommended by Dr. Hercules that she follow up with her primary care doctor
          the next day to have her blood count repeated. Dr. Hercules did not stop her
          Xarelto or aspirin at the time of her visit, which was a reasonable decision
          given her presentation and high risk for developing another blood clot.


          Ms. Mingo had a visit with Nurse Practitioner Zachary on February 3, 2015, as
          advised by Dr. Hercules. She was noted to have a heart rate of 107 and blood
          pressure of 111/75. She noted a bowel movement the morning of the visit to be
          “dark in color but on iron.” At that time her labs were re-checked and she had a
          hemoglobin of 8.2 g/dl. She was referred to a gastroenterologist due to the
          hemoccult positive stool and low hemoglobin. Again, at that time her Xarelto
          dose was not changed; however, her aspirin dose was decreased from 325 mg a
          day to 81mg a day.


          One week later on February 10, 2015, Ms. Mingo had a gastroenterology office
          visit to be evaluated for hemoccult positive stool and anemia. She was seen by
          Nurse Practitioner Mary Thornton. At that time, Xarelto was listed as one of

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          her medications and she was noted to have no blood in stool, decreased
          exercise tolerance, dyspnea on exertion, no bleeding or melena and abdominal
          pain only when having a bowel movement. Her blood pressure was 99/45 and
          her heart rate was 125. She was noted to have a normal color with no
          abdominal tenderness. The plan at that time was to schedule her to have a
          colonoscopy and esophagogastroduodenoscopy (EGD).


          Ms. Mingo had a follow up with Dr. Gholson on February 12, 2015 to have her
          blood count re-checked. On the laboratory evaluation she was noted to have a
          hemoglobin of 5.8 g/dl. An attempt was made to get her a follow up
          appointment with gastroenterology on February 13, 2015, but there was no
          provider at the gastroenterology clinic that day. She was therefore instructed to
          go to the emergency room at Southwest Mississippi Regional Medical Center
          for evaluation and admission.


          Upon evaluation in the emergency department on February 13, 2015, Ms.
          Mingo was noted to present at the request of Dr. Gholson due to anemia. At
          that time she denied dizziness, chest pain, shortness of breath but did report
          some mild abdominal cramping. She reported “black stools since January 9th”
          to the emergency physician, Dr. David Casey. On examination she had a blood
          pressure of 118/55 and a heart rate of 131; she was noted to be in no acute
          distress, with good pulses in all extremities, normal skin color, hemoccult
          positive black stool, and she had a normal mental status. Labs were performed
          and revealed a hemoglobin of 6.4 g/dl and a prothrombin time of 26.2 (normal
          ranges from 13-15 seconds). She was given a proton pump inhibitor, Protonix,
          to decrease acid production in the stomach and she was given a small amount
          of IV fluids and 1 unit of packed red blood cells were transfused. She was
          stable in the emergency department and did not require any emergency or life

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          saving interventions, and did not require massive transfusion. She was
          admitted to the intensive care unit but based on her presentation and lab values,
          there is no quantitative data in the medical record that suggests that her clinical
          condition was consistent with a critical illness. In fact, just prior to Ms. Mingo
          leaving the emergency department for the ICU it was noted that she was awake
          and talking to her family and her vital signs just prior to transfer were a blood
          pressure of 103/85, heart rate of 118 and respiratory rate of 20.


          She underwent bilateral lower extremity ultrasound that revealed no deep
          venous thrombosis of the lower extremities. She subsequently underwent an
          EGD on February 13, 2015, which revealed a gastric ulcer at the fundus of the
          stomach that was 6mm in size that revealed a small amount of blood oozing.
          The oozing was ablated with APC followed by placement of a hemoclip and
          full hemostasis was achieved. By February 14, 2015, Ms. Mingo had received
          4 units of packed red blood cell transfusion, 2 units of fresh frozen plasma, and
          her hemoglobin was 9.8 g/dl after the transfusion, and her PT was 16.4. This
          blood count remained stable and on the date of her discharge from the hospital
          her hemoglobin was 9.9 g/dl. At discharge on February 15, 2015, the
          gastrointestinal consultant recommended that the Xarelto could be restarted;
          however, Ms. Mingo refused the Xarelto and thus her aspirin dose of 325 mg a
          day was continued. She was also started on Protonix for peptic ulcer disease.


          In March 2015, her creatinine was 1.1 mg/dl and her hemoglobin was 11.7
          g/dl. In July of 2015 her hemoglobin was 13.1 g/dl. Ms. Mingo had a follow up
          gastrointestinal endoscopy in May 2015 that biopsies showed no Helicobacter
          Pylori infection. In January 2016 her creatinine was 0.9 mg/dl.


          Case Discussion and Opinions

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          Prior to her admission for GIB, Ms. Mingo was seen by 3 separate clinicians at
          different dates and locations (Dr. Hercules, NP Zachary, and NP Thornton).
          Each of these providers had knowledge that Ms. Mingo was on Xarelto and
          each of them had evidence that there was some degree of GI bleeding.
          However, none of them had significant enough concerns about the risks of the
          medication, in relation to the benefit of anticoagulation for DVT, to stop the
          Xarelto. Also, none of these practitioners measured a PT or even indicated that
          they considered such measurement. This highlights the fact that the use of PT
          Neoplastin testing, as suggested by Dr. Rinder in his report, is not in any way
          considered standard of care and furthermore, even if PT Neoplastin is
          measured, there are no evidence-based or other guidance for the use of such
          assays in the clinical management of patients as is further suggested by Dr.
          Rinder. The PT obtained on Ms. Mingo in the emergency department on
          February 13, 2015 does not give us information on how anticoagulated Ms.
          Mingo was, but does illustrate that she has some anticoagulant effect present in
          her system. This value would not guide a clinician to any particular decision,
          nor would it impact Ms. Mingo’s treatment. In fact, had this value been
          normal in Ms. Mingo, that measurement would not have excluded the presence
          of Xarelto in her system.


          At the time of her GIB event, Ms. Mingo was not in a critical state. She arrived
          to the emergency department by private vehicle, and was noted by the triage
          nurse Mr. Fortenberry, the primary nurse Ms. Carr, and Dr. David Casey to
          have no specific symptoms and to be in no distress with a normal physical
          examination. While in the emergency department, she required no life saving
          interventions and despite admission to the intensive care unit, there is no
          evidence in the medical records that she was critically ill. As mentioned

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          earlier, her vital signs and clinical picture do not reflect those of a patient that
          is in a state of critical illness. Based on my experience, patients whom a
          physician thinks may require more resources or nursing care than is available
          on the floor will be admitted to a critical care unit, rather than their condition
          being that of a critical illness.


          Ms. Mingo had two of the three most significant risk factors for PUD,
          including use of aspirin and smoking, and the fact that an ulcer was found on
          EGD suggests that the ulcer development pre-dated her Xarelto use and
          subsequent bleeding event. There is evidence in the medical records to suggest
          that Ms. Mingo had a subclinical bleeding event while on Lovenox post-
          operatively. Her hemoglobin dropped 4 g/dl in 4 days, an amount that is
          inconsistent with the 30 ml estimated blood loss at surgery. My opinion is that
          Ms. Mingo likely suffered occult gastrointestinal bleeding from the pre-
          existing ulcer while receiving Lovenox and aspirin 81 mg. This opinion is
          further supported by the history obtained by Dr. David Casey that Ms. Mingo
          reported having black stools since January 9th, suggesting occult GI bleeding,
          and the fact that when the Lovenox was discontinued her hemoglobin
          rebounded by 2.5 g/dl. These facts support, and it is my opinion, that
          regardless of the type of anticoagulant she had been placed on for her DVT
          (for example Coumadin or Lovenox) she would have had the same bleeding
          event that occurred while she was on Xarelto.


          I expressly disagree with the report of Dr. Rinder that aspirin can be ruled out
          as a cause of Ms. Mingo’s GIB. At the time that Xarelto was started on January
          22, 2015, her aspirin dose had already been increased from 81mg to 325 mg.
          The assertion that Ms. Mingo had no bleeding prior to using Xarelto and while
          on aspirin, as stated by Dr. Rinder, is a questionable conclusion because the

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                                           Jackson, MS




          medical records contain evidence of signs, symptoms and statements to the
          contrary. Ms. Mingo’s dose of aspirin had been increased to 325mg at the time
          the Xarelto was started. The fact that she had not bled on a lower dose of
          aspirin prior to her hip surgery is of no consequence to ruling out aspirin as a
          contributor to the bleeding. When using a medication such as aspirin there is
          no way to predict when an adverse effect may occur, and simply the use of the
          medication with no prior bleeding (especially as the dose was increased prior
          to Xarelto initiation) does not represent causal evidence and makes it
          impossible to ‘rule out’ the relative contribution of aspirin in the bleeding.
          Furthermore, the fact that Ms. Mingo had no further episodes of bleeding after
          the Xarelto was stopped but the aspirin was continued also does not represent
          evidence that the aspirin did not contribute to the bleeding, as suggested by Dr.
          Rinder. In fact, the definitive intervention during the EGD of APC ablation and
          placement of a hemoclip to the bleeding vessel in the ulcer is why there was no
          further bleeding. The GI intervention was the reason for no further bleeding
          and serves to highlight the fact the aspirin cannot be ruled out as a culprit in
          the bleeding using this evidence relied upon by Dr. Rinder.


          It is my opinion that Ms. Mingo received standard therapies for her upper GIB.
          She received blood transfusion and upper GI endoscopy with therapy, as many
          patients with GIB from PUD receive. The evidence of no DVT found on repeat
          ultrasound of the lower extremities at the time of her hospitalization for GIB
          shows the effectiveness of Xarelto and obfuscated the needed for further
          anticoagulation or vena caval interruption. Further, I find no evidence in her
          medical records that Ms. Mingo suffered any ongoing damage to any organ as
          a result of her GIB.




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                                   Alan E. Jones, MD, FACEP
                                          Jackson, MS




          I hold these opinions to a reasonable degree of medical certainty. I will review
          new materials pertinent to this matter as they are made available to me, and
          reserve the right to amend my opinions accordingly.




          Respectfully yours,




          Alan E. Jones, MD, FACEP




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                          EXHIBIT A




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CV - Alan E. Jones, MD
                                     CURRICULUM VITAE

                                     ALAN E. JONES, MD


Personal Information:

Name:                       Alan Edward Jones, MD

Business Address:           University of Mississippi Medical Center
                            Department of Emergency Medicine
                            2500 North State Street
                            Jackson, MS 39216

Phone:                      (Work) 601-984-5572
                            (Fax) 601-984-5583

Email:

Present Position:           Chairman
                            Department of Emergency Medicine
                            University of Mississippi Medical Center


Education:

UNC Charlotte               Masters of Public Health Coursework        2007-2009
Charlotte, NC

Carolinas Medical Center Clinical Trials Research Fellow               2002- 2003
Charlotte, NC

Carolinas Medical Center Chief Resident, Emergency Medicine            2001- 2002
Charlotte, NC

Carolinas Medical Center Resident, Emergency Medicine                  1999- 2002
Charlotte, NC

University of Mississippi   Doctor of Medicine                         1995- 1999
Jackson, MS                 Summa Cum Laude, Alpha Omega Alpha

Millsaps College            Bachelor of Science, Molecular Biology     1990- 1994
Jackson, MS                 Magna Cum Laude

Academic Appointments:

Professor, Tenure Track                                                2011- Present
University of Mississippi School of Medicine

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CV - Alan E. Jones, MD
Department of Emergency Medicine
Jackson, MS

Adjunct Professor                                                 2013- Present
University of Mississippi School of Medicine
Department of Microbiology
Jackson, MS

Associate Professor                                               2007- 2011
Carolinas Medical Center
Department of Emergency Medicine
Charlotte, North Carolina

Assistant Professor                                               2003- 2007
Carolinas Medical Center
Department of Emergency Medicine
Charlotte, North Carolina

Adjunct Assistant Professor                                       2003- 2011
Department of Emergency Medicine
University of North Carolina School of Medicine
Chapel Hill, North Carolina

Adjunct Assistant Professor of Biology                            2003-2011
Department of Biology
University of North Carolina Charlotte
Charlotte, North Carolina

Instructor                                                        2002- 2003
Carolinas Medical Center
Department of Emergency Medicine
Charlotte, North Carolina

Academic Administrative Positions:

Chairman                                                          2013- Present
Department of Emergency Medicine
University of Mississippi Medical Center, School of Medicine

Vice Chairman                                                     2011- 2013
Department of Emergency Medicine
University of Mississippi Medical Center, School of Medicine

Research Director                                                 2011- 2014
Department of Emergency Medicine
University of Mississippi Medical Center, School of Medicine

Research Director                                                 2010- 2011

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CV - Alan E. Jones, MD
Department of Emergency Medicine
Carolinas Medical Center, Charlotte NC

Director, EM Scheduling and Recruiting                            2009- 2011
Department of Emergency Medicine
Carolinas Medical Center, Charlotte NC

Director, EM Critical Care Services                               2007- 2011
Department of Emergency Medicine
Carolinas Medical Center, Charlotte NC

Assistant Director of Research                                    2003- 2010
Department of Emergency Medicine
Carolinas Medical Center, Charlotte NC

Academic Education Positions

Director, Clinical Trials Tract                                   2016- Present
Masters of Science in Clinical Investigation
Graduate School, School of Medicine
University of Mississippi Medical Center

Assistant Director, MD/PhD Program                                2012- 2014
School of Medicine
University of Mississippi Medical Center

Director Resident Critical Care Mini-Fellowship                   2011- 2015
Emergency Medicine Residency
University of Mississippi School of Medicine

Director Resident Research Mini-Fellowship                        2011- 2014
Emergency Medicine Residency
University of Mississippi School of Medicine

Core Lecturer and Clinical Educator                               2011- Present
Emergency Medicine Residency
University of Mississippi School of Medicine

Course Director                                                   2011- 2014
4th Year Medical Student EM Research Elective
University of Mississippi Medical Center

Core Lecturer                                                     2011- Present
EM 4th Year Medical Student Elective
University of Mississippi Medical Center

Director Emergency Medicine Journal Club                          2011- 2012
University of Mississippi Medical Center

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CV - Alan E. Jones, MD

Director Emergency Medicine Research Fellowship                               2011- 2014
Department of Emergency Medicine
University of Mississippi Medical Center

Director Emergency Medicine Research Fellowship                               2010- 2011
Department of Emergency Medicine
Carolinas Medical Center, Charlotte NC

Core Lecturer and Clinical Educator                                           2002- 2011
Emergency Medicine Residency
Carolinas Medical Center

Core Lecturer                                                                 2002- 2011
EM 4th Year Medical Student Elective
Carolinas Medical Center

Director Evidence Based Medicine Series                                       2003- 2010
Carolinas Medical Center

Director, Emergency Medicine Journal Club                                     2003- 2010
Carolinas Medical Center

Director, EM Research Associate Program                                       2003- 2006
Department of Emergency Medicine
Carolinas Medical Center and UNCC, Charlotte, NC

Academic Administration

Chairman, Department of Emergency Medicine                                    2013- Present
University of Mississippi Medical Center
Responsibilities: Primary oversight of all departmental activities provided in the areas of clinical
service, education and research. Oversight included 29 faculty physicians, 40 resident
physicians, 7 advanced practice nurses, 16 staff and 80 nurses. Also, directly responsible for
the Mississippi Telemergency and acute care telehealth, Mississippi Poison Control Center
and Mississippi Center for Emergency Services. Report to the Vice-Chancellor for Health
Affairs and provided strategic oversight ED clinical director of nursing and liaison to hospital
CEO, COO, CMO. Primary oversight of yearly departmental budget of approximately 20 million
dollars and research budget of 6 million dollars. Responsibilities include:

       Adult Emergency Department – 70,000 patient visits per year
       Mississippi Acute Care Telehealth Services
              Mississippi Telemergency – 5,000 patient encounters per year
              Telestroke
              Teleconcussion
       Mississippi Poison Control Center
       Mississippi Center for Emergency Services
              UMMC Comprehensive Transport Team (AirCare, Pediatrics and Neonate)

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CV - Alan E. Jones, MD
            UMMC Grenada EMS
            Mississippi MedCom
            Local and State Disaster Medical Response
            Public Safety Medical Division
      Emergency Medicine Residency Program
      Emergency Medicine Fellowship Programs
            Emergency Medical Services
            Research
            Sports Medicine
            Ultrasound
      Southeastern Emergency Medicine Annual Conference Director

Hospital Appointments

Attending Emergency Physician, University of Mississippi Medical Center   2011- Present
Attending Emergency Physician, Carolinas Medical Center Main              2002- 2013
Attending Emergency Physician, Carolinas Medical Center Mercy             2008- 2013
Attending Emergency Physician, Carolinas Medical Center University        2008- 2013
Independent Contractor, Carolinas Healthcare System Urgent Cares          2000- 2002

Certification/Licensure:

Diplomat American Board of Emergency Medicine (00220189)                  2003- 2013
      Recertification                                                     2013- 2023
North Carolina Medical License (2000-00841)                               2000- Present
Mississippi Medical License (21394)                                       2011- Present

Professional Societies:

Association of Academic Chairs of Emergency Medicine                      2013- Present
Society for Academic Emergency Medicine                                   1999- Present
American College of Emergency Physicians                                  1999- Present
      Fellow Status (FACEP)                                               2006- Present
Society of Critical Care Medicine                                         2004- Present
Mississippi College of Emergency Physicians                               2011- Present
Mississippi State Medical Association                                     2011- Present
Shock Society                                                             2005- 2013
American Academy of Emergency Medicine                                    2012- Present
      Fellow Status (FAAEM)
Central Medical Society                                                   2011- Present
North Carolina College of Emergency Physicians                            1999- 2011
American Medical Association                                              1995- Present

Elected Positions:

Society for Academic Emergency Medicine
           Immediate Past President                                      2014- 2015
           President                                                     2013- 2014

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CV - Alan E. Jones, MD
             President Elect                                        2012- 2013
             Board of Directors                                     2009- 2010
             Board of Directors                                     2010- 2013

SAEM Foundation
        President                                                   2014- 2015
        Vice-President                                              2012- 2013
        Board of Trustees                                           2009- 2015

Emergency Medicine Foundation
        Board of Trustees                                           2010- 2015

Service Positions:

INTERNATIONAL
     Dutch Society of Emergency Physicians
        Sepsis Consultant                                           2009- 2012

      Global Network Conference on Emergency Medicine
          Scientific Committee Member                               2011-2012

      World Congress on Acute Heart Failure
         Scientific Committee Member                                2013-2015

NATIONAL
     Society for Academic Emergency Medicine
        Board of Directors                                          2009- 2015
               o Awards Committee Liaison                            2014- 2015
               o AACEM Liaison                                       2013- 2014
               o Fellowship Approval Task Force Liaison              2012- 2014
               o SAEM/ACEP Research Work Group                       2012- 2015
               o Global EM Academy Liaison                           2011- 2012
               o External Collaboration Committee Liaison            2011- 2012
               o Triage Interest Group Liaison                       2011- 2012
               o Regional Meeting Task Force                         2010- 2014
               o GME Committee Liaison                               2010- 2011
               o US Interest Group Liaison                           2010- 2011
               o Toxicology Interest Group Liaison                   2010- 2013
               o EMS Interest Group Liaison                          2009- 2010
               o Web Editorial Board Liaison                         2009- 2010
               o Grants Committee Liaison                            2009- 2012
               o Quality Medical Management Interest Group Liaison   2011- 2012
               o AEMJ Strategic Plan Task Force                      2011
                     Chair
               o Consensus Conference Task Force                     2011- 2012
        CEO Search Committee                                        2014- 2015
        AEMJ Editor-In-Chief Search Committee                       2015

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CV - Alan E. Jones, MD
                 o Chair
             Nominating Committee – Chairman                       2012- 2013
             Awards Committee                                      2006- 2007
             Grants Committee                                      2004- 2009
                 o Chairman                                         2008- 2009
                 o Sub-chair – IRT Grants                           2005, 2007
                 o Sub-chair – MSIG Grants                          2005, 2006
                 o Sub-chair – RT Grants                            2006
                 o Sub-chair – SS Grants                            2007
             Program Committee                                     2003- 2004
             Research Committee                                    2001- 2004
                 o Sub-chair – Didactics subcommittee               2003- 2004
             SE Region Meeting Program Committee                   2004- 2010
                 o Scientific coordinator                           2004- 2006
             USCIITG Task Force                                    2008- 2011
                 o Chairman and Representative
             American Physician Scientist Association              2010- 2014
                 o Representative

      Society for Academic Emergency Medicine Foundation
         Board of Trustees                                         2009- 2015
                o Vice-chair                                        2012- 2013

      American College of Emergency Physicians
         ACEP TCPI Sepsis Steering Committee                       2016- Present
         Quality Measures Technical Expert Panel: Sepsis Metrics   2015- Present
         Sepsis Expert Panel                                       2015- Present
         Research Committee                                        2006- 2015
              o Co-chair                                            2011- 2012
              o Chairman                                            2012- 2014
         EMF Scientific Review Committee                           2003- 2014
              o Chair-elect                                         2008- 2010
              o Chairman                                            2010- 2012
         Trauma Care and Injury Control Committee                  2000- 2002
         SSC Advisory Task Force                                   2008
         Annals of EM EIC Evaluation Task Force                    2012

      Emergency Medicine Foundation
         Board of Trustees                                         2010- 2014

      American Academy of Emergency Medicine
         Practice Guidelines Committee                             2004- 2008

      Society of Critical Care Medicine
         Graduate/Fellowship Education Committee                   2005- 2008
         Conduct of Critical Care Research Taskforce               2011- 2013


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CV - Alan E. Jones, MD

STATE
     Mississippi State Department of Health
         Mississippi Stroke Advisory Committee                   2014- Present
         Trauma and EMS Funding Task Force                       2016- Present

INSTITUTIONAL
      University of Mississippi Medical Center
          Physician Wellness Task Force                          2016
               o Co-Chairman
          Leadership Cabinet                                     2016- Present
          Health System Executive Committee                      2016- Present
          Administrative Advisory Council                        2014- 2015
          UMMC-VA Relations Committee                            2015- Present
          Compliance Committee                                   2015- Present
               o Chairman, Physician subcommittee                 2016- Present
          Strategic Plan Task Force                              2015
          Faculty Compensation Plan Task Force                   2014- 2015
          Faculty Recruiting and Development Committee           2015
          Search and Recruit Team                                2013- Present
               o Chair of Pathology
               o Chief Telehealth and Innovation Officer
               o Pediatric Surgeon in Chief
               o Chief – Division of Trauma
               o Chief – Division of Pediatric EM
               o Chief – Division of Hospital Medicine
          Council of Clinical Chairs                             2014- Present
               o APP Council Liaison                              2016- Present
          Center for Telehealth Internal Advisory Board          2014- Present
               o Chairman
          Delay and Denial Task Force                            2014-2015
          Diversion Task Force                                   2014
               o Chairman
          ED Throughput Task Force                               2014- 2015
               o Chairman
          Research Advisory Council                              2014- Present
               o Chairman, Awards Subcommittee
          EM Quality Council                                     2013- Present
          UP Board of Governors                                  2013- 2014
          Clinical Chairs Committee                              2013- 2014
          Executive Faculty Committee                            2013- Present
          Vice Chancellors Quality Advisory Committee            2013- 2014
          Vice Chancellors Research Advisory Committee           2013- 2015
          Medical Executive Committee                            2013- Present
          MSCI Planning Committee                                2013- 2015
          EPIC Research Advisory Committee                       2013- 2015

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CV - Alan E. Jones, MD
             CMO Clinical Advisory Group                              2012- 2013
             Pediatric EM Division Chief Search Committee             2013
             Centers and Institutes Committee                         2012- 2013
             Fund U Committee                                         2012- 2014
             Medical Student Research Program Committee               2012- 2015
             EM Promotions and Tenure Committee                       2011- Present
             Critical Care Committee                                  2011- 2013
             ICU Task Force                                           2011- 2013
             DOM Clinical Council                                     2011- 2013
             IRB Advisory Board                                       2011- 2013
             Jackson Heart Study Task Force                           2015

      Carolinas Medical Center
          Academic Advancement Committee                              2010
          Sentinel Event Task Force                                   2008
                o Chairman
          Physician IT Advisory Council                               2008
          Institutional Review Board                                  2005- 2011
               o Vice-Chairman                                         2008- 2011
          Trauma Outcomes Committee                                   2005- 2009
          Sepsis Therapy Task Force                                   2004- 2011
               o Chairman                                              2004- 2011
          Intensive Care Advisory Committee                           2004- 2011
          Research Review Committee                                   2004- 2007
          Emergency Medicine RRC                                      2004- 2011
          Emergency Medicine QA Committee                             2003- 2011
          ACGME Institutional Site Visit Committee                    2002
          Institutional Residency Review Committee                    2001
          Trauma Committee                                            1999- 2009

Working Groups/Guidelines/Advisory Boards:

Obo ACEP – American College for Emergency Physicians,
     1) Emergency Quality Network (E-QUAL) Sepsis Initiative, Member/Presenter/Panelist
        2015-Present
     2) Member ACEP Expert Panel on Sepsis DART (Detect, Act, Reassess, Titrate) –
        Tool to Guide the Early Recognition and Treatment of Sepsis and Septic Shock,
        2015
     3) Consultant for Sepsis Bundle Guidelines and Reporting to National Quality Forum
        Appeal Advisor, 2014
     4) Joint ACEP/SCCM Task Force, 2016

Obo AHRQ - Agency for Healthcare Quality and Research
  1) Stakeholder Panel for the Future Research Needs on Procalcitonin Guided Antibiotic
     Therapy, 2012



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CV - Alan E. Jones, MD
Obo GNYHA – Greater New York Hospital Association
  1) Sepsis Bundle Guidelines and Reporting to NQF, 2013
  2) CMS Advisor, 2013

Obo NEJM – New England Journal of Medicine
  1) Group Open Forum Expert Commentator, @NEJM Ask the Authors & Experts: Trial of
     Early, Goal-Directed Resuscitation for Septic Shock, 2015

Obo NGU - Next Generation University
  1) Introduction to Emergency Medicine, Advisory Board, 2011

Obo NIH/NIAID - National Institute of Allergy and Infectious Diseases
  1) Guidelines Committee on the Clinical management of Viral Hemorrhagic Fevers, 2008

Obo NBME – National Board of Medical Examiners
  1) Clinical Research Professionals Item Writer Pilot Program, 2015

Obo PQC - Partnership for Quality Care
  1) Sepsis Bundle Implementation and Measurement Advisory Board, 2012

Obo SAEM – Society for Academic Emergency Medicine
  1) SSC - Surviving Sepsis Campaign, International Sepsis Management Guidelines Group,
     2012 and 2016

Obo UMMC – University of Mississippi Medical Center
  1) Southeastern Emergency Medicine Annual Conference, Conference Medical Director,
     2015- Present
  2) San Antonio Cardiovascular Proteomics Center, External Advisory Board, 2013-Present


Peer-Review Responsibilities:

JOURNALS
Academic Emergency Medicine                                            2001- Present
AHRQ Effective Health Care Program                                     2011- Present
Archives of Trauma Research                                            2015- Present
American Journal of Emergency Medicine                                 2010- Present
American Journal of Medical Sciences                                   2014- Present
American Journal of Respiratory and Critical Care Medicine             2015- Present
Annals of Emergency Medicine                                           2004- Present
      Senior reviewer                                                  2007- Present
      Peer reviewer mentor                                             2007- 2010
Annals of Medicine                                                     2015- Present
Annals of Thoracic Medicine                                            2009- Present
Annals of the American Thoracic Society                                2013- Present
Applied Clinical Informatics                                           2010- Present
Biomarkers                                                             2016- Present
Blood                                                                  2009- Present

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CV - Alan E. Jones, MD
BMC Anesthesiology                                                   2012- Present
BMC Medical Education                                                2007- Present
BMC Health Services Research                                         2012- Present
BMC Research Notes                                                   2015- Present
Chest                                                                2007- Present
Critical Care                                                        2010- Present
Critical Care Medicine                                               2004- Present
Critical Care Research and Practice                                  2012- Present
Current Medical Research and Opinion                                 2016- Present
Disease Markers                                                      2010- Present
Emergency Medicine Australasia                                       2009- Present
Emergency Medicine Practice                                          2001- Present
Expert Opinion on Drug Safety                                        2015- Present
Headache                                                             2010- Present
Hospital Practice                                                    2009- Present
Intensive Care Medicine                                              2008- Present
Internal and Emergency Medicine                                      2010- Present
ISRN Critical Care                                                   2012- Present
Joint Commission Journal of Quality and Patient Safety               2011- Present
Journal of Infection                                                 2007- Present
Journal of Clinical Pharmacology                                     2011- Present
Journal of Critical Care                                             2012- Present
Journal of Korean Medical Science                                    2015- Present
Journal of Parenteral and Enteral Nutrition                          2013- Present
Journal of Microbiology, Immunology and Infection                    2015- Present
Lancet Respiratory Medicine                                          2015- Present
Letters in Drug Design and Discovery                                 2009- Present
Mayo Clinic Proceedings                                              2011- Present
Mediators of Inflammation                                            2016- Present
Minerva Anestesiologica                                              2009- Present
PLOS ONE                                                             2016- Present
Proceedings of the American Thoracic Society                         2012- Present
Resuscitation                                                        2008- Present
Saudi Medical Journal                                                2011- Present
Scandinavian Journal of Infectious Disease                           2012- Present
Scandinavian Journal of Trauma, Resuscitation and Emerg Med          2014- Present
Thrombosis Research                                                  2009- Present

EDITORIAL BOARD APPOINTMENTS
Academic Emergency Medicine – Associate Editor                       2005- Present
Academic Emergency Medicine – PCP Section Editor                     2007- Present
Annals of Emergency Medicine – Decision Editor                       2008- 2014
Annals of Emergency Medicine – Associate Editor                      2014- Present
Annals of Emergency Medicine – SRS Section Co-Editor                 2008- Present
Open Access Emergency Medicine – Editorial Board                     2008- Present
PIER (American College of Physicians) – Editorial Consultant         2009- Present
SAEM Newsletter – Medical Editor                                     2010- Present
Current Opinions in Critical Care – Emergency Edition Guest Editor   2012

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CV - Alan E. Jones, MD
First Consult – Editorial Consultant                                   2011- Present
Journal of Emergency & Disaster Medicine – Editorial Board             2012- Present
Critical Care (ISRN) – Editorial Board                                 2012- Present
Medscape – Editorial Consultant                                        2012- Present
Journal of Emergency Medicine & Critical Care - Editorial Board        2013- Present
F1000 Prime – Contributing Member                                      2013- Present
Advances in Medicine – Editorial Board                                 2013- Present
Clinical and Experimental Emergency Medicine – Editorial Board         2014- Present

GRANT REVIEW

Federal
NIGMS (NIH) – Chair of Special Emphasis Panel - ZGM1 PPBC-5 (CT)       2016
NIGMS (NIH) - Special Emphasis Panel - ZGM1 PPBC-5 (CL)                2015
CSR (NIH) - Surgery, Anesthesia and Trauma (SAT) Study Section         2014
NIDDK (NIH) - UAB Clinical Nutrition Research Center                   2009
NIA (NIH) - Jahnigen CDA/GEMSSTAR                                      2011
Netherlands Organization for Health Research and Development           2013, 2014
French Ministries of Health, National Program of Clinical Research     2014
Alberta Health Services, Alberta Innovates – Health Solutions (AIHS)   2014

Foundation
Emergency Medicine Foundation, Scientific Review Committee             2003- 2014
Society for Academic Emergency Medicine, Grants Committee              2004- 2009
Carolinas Health Services Foundation, Research Review Committee        2004- 2007
Carolinas Healthcare Foundation, JAM Research Fund                     2010- 2013
Genome British Colombia, Strategic Opportunities Fund for Industry     2011
Einstein Society, Grant Reviewer                                       2013

ABSTRACT REVIEW FOR NATIONAL MEETINGS
Society for Academic Emergency Medicine                                2002- 2014
American College of Emergency Physicians Research Forum                2002- 2014
Society of Critical Care Medicine Annual Meeting                       2006- 2012
International Conference of Emergency Medicine                         2007- 2010

MODERATOR FOR NATIONAL/INTERNATIONAL MEETINGS
ACEP Research Forum, Imaging and Resuscitation                         2006
ACEP Research Forum, Imaging and Diagnosis/Treatment                   2007
4th MEMC, Shock and Sepsis                                             2007
ACEP Research Forum, Imaging                                           2008
29th ISICEM, Catheter Related Infections                               2009
5th MEMC, Shock and Sepsis                                             2009
ACEP Research Forum, Diagnosis/Treatment                               2009
ACEP Research Forum, Diagnosis/Treatment                               2010
31st ISICEM, Clinical Use of Biomarkers                                2011
SAEM Annual Meeting, Mortality Prediction                              2011
6th MEMC, Shock and Sepsis                                             2011
6th MEMC, Resuscitation                                                2011

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CV - Alan E. Jones, MD
ACEP Research Forum, Emerging Concepts in Diagnosis                         2011
32nd ISICEM, Sepsis: EGDT and Beyond                                        2012
32nd ISICEM, Research Poster Presentation                                   2012
SAEM Annual Meeting, EuSEM Session                                          2013
7th MEMC, SAEM meets MEMC Session                                           2013
7th MEMC, EuSEM Debate: International EM                                    2013
ACEP Research Forum, Therapeutics Lightening Orals                          2013
SAEM Annual Meeting, Plenary Session                                        2014

Publications – Full Length, Peer Reviewed (Beginning with most recent):

** Indicates senior and corresponding author role.
## Indicates separate abstract publication as a part of national/international presentation

1. DJ Henning, MA Puskarich, WH Self, MD Howell, MW Donnino DM Yealy, AE Jones, NI
   Shapiro. An Emergency Department Validation of the SEP-3 Sepsis and Septic Shock
   Definitions. Annals of Emergency Medicine

2. P Schuetz, R Birkhahn, R Sherwin, AE Jones, A Singer, JA Kline, M Runyon, W Self, M
   Courtney, R Nowak, D Gaieski, E Panacek, S Ebmeyer, S Johannes, J Wiemer, A
   Schwabe, NI Shapiro. Procalcitonin kinetics predict mortality in Severe Sepsis patients:
   Results from the multicenter Procalcitonin MOnitoring SEpsis Study (MOSES). Critical Care
   Medicine

3. **MA Puskarich, U Nandi, B Long, AE Jones. The Association Between Persistent
   Tachycardia and Tachypnea and In-hospital Mortality Among Non-hypotensive Emergency
   Department Patients Admitted to the Hospital. Clinical and Experimental Emergency
   Medicine ## In Press

4. **MA Puskarich, DC Cornelius, J Tharp, U Nandi, AE Jones. Plasma syndecan-1 Levels
   Identify a Cohort of Patients with Severe Sepsis at a High Risk of Intubation Following
   Large Volume Intravenous Fluid Resuscitation. Journal of Critical Care ## In Press

5. **Sterling SA, AE Jones, King M, Galli R. Isom K, Summers R, Henderson K. The Impact
   of the TelEmergency Program on Rural Emergency Care: An Implementation Study.
   Journal of Telemedicine and Telecare ## In Press

6. **DC Cornelius, M McCalmon, J Tharp, MA Puskarich, AE Jones. Fluid Resuscitation in
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   Archives of Emergency Medicine and Critical Care, 1:1002-1009, 2016.

7. F Guirgis, S Brakenridge, S Sutchu, JD Khadpe, T Robinson, R Westenbarger, ST Topp,
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   Trauma, Infection and Critical Care. In Press ## PMID: 27398984




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CV - Alan E. Jones, MD
8. **JS Scott, SA Sterling, H To, AL Harris, AE Jones. Diagnostic Performance of Matrix-
   Assisted Laser Desorption Ionization Time-of-Flight Mass Spectrometry in Blood Bacterial
   Infections: A Systematic Review and Meta-analysis. Infectious Diseases 48:530-536, 2016.
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9. **MA Puskarich, NI Shapiro, MJ Massey, JA Kline, AE Jones. The Relationship Between
   Microcirculatory Blood Flow, Lactate Clearance, and Organ Failure in Patients with Septic
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10. SA Sterling, AE Jones, RD Cox. Longitudinal Trends in the Prevalence of Diabetes
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11. **MA Puskarich, JA Kline, J Watts, K Shirey, J Hosler, AE Jones. Early Alterations in
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12. **K McKenzie, MA Puskarich, AE Jones. What is the Prognosis of Non-traumatic
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14. BC Geyer, AH Kaji, ED Katz, AE Jones, VS Bebarta. A National Evaluation of the Resident
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15. **AC Barrett, JR Studnek, MA Puskarich, AE Jones. Utilizing Geographic Information
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16. Dehon E, Simpson K, Fowler D, Jones AE. Development of the Faculty 360.
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17. SA Sterling, AE Jones, TG Coleman, RL Summers. Theoretical Analysis of the Relative
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19. **JM Brewer, MA Puskarich, AE Jones. Can Vasopressors Safely Be Administered
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21. **SA Sterling, WR Miller, J Pryor, MA Puskarich, AE Jones. The Impact of Timing of
    Antibiotics on Outcomes in Severe Sepsis and Septic Shock: A Systematic Review and
    Meta-analysis. Critical Care Medicine, 43:1907-1915, 2015. ## PMID: 26121073

22. AM Mitchell, AE Jones, JA Tumlin JA Kline. Major Adverse Events 1 year after Contrast-
    Induced Nephropathy from Computed Tomography. Annals of Emergency Medicine,
    66:267-274, 2015. ## PMID: 26004770

23. A DeCoux, Y Tian, NT Nguyen, LE de Castro Bras, ER Flynn, PL Cannon, ME Griswold,
    YF Jin, MA Puskarich, AE Jones, ML Lindsey. Plasma Glycoproteomics Reveals Sepsis
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25. FW Guirgis, DJ Williams, M Hale, AA Bajwa, A Shujaat, N Patel, CJ Kalynych, AE Jones,
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35. **MA Puskarich, BM Illich, AE Jones. Prognosis of Emergency Department Patients with
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40. JA Kline, NI Shapiro, AE Jones, J Hernandez, MM Hogg, J Troyer, RD Nelson. Outcomes
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72. NI Shapiro, R Arnold, R Sherwin, J O’Connor G Najarro, S Singh, D Lundy, T Nelson, S
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4. (Reply) SA Sterling, MA Puskarich, AE Jones. In Response to: Systematic Bias in Meta-
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5. (Reply) SA Sterling, MA Puskarich, AE Jones. In response to: Time for a randomized
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   Medicine, 44:e110, 2016.

6. (Reply) SA Sterling, MA Puskarich, AE Jones. In Reply: Timing of appropriate antibiotics in
   sepsis- how much does each hour matter? Critical Care Medicine, 44:e110, 2016.

7. (Reply) AE Jones. Sepsis, Lactate and O2 Supply Dependence. Chest, 141:1362-1364,
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8. (Reply) MA Puskarich, JA Kline, AE Jones. Should or Should We Not Allow Delays in
   Antimicrobial Administration? Of Course Not! Critical Care Medicine, 40:1035-1036, 2012.

9. (Reply) JH Kilgannon, AE Jones, JE Parrillo, RP Dellinger, B Milcarek, K Hunter, NI
   Shapiro, S Trzeciak. Hyperoxemia and the Outcome of Cardiac Arrest. Circulation,
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10. (Reply) JH Kilgannon, S Trzeciak, AE Jones. Hyperoxia after Resuscitation from Cardiac
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11. (Reply) AE Jones, S Trzeciak, JA Kline. Lactate Clearance Versus Central Venous
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12. (Reply) JH Kilgannon, AE Jones, S Trzeciak. Arterial Hypotension After Resuscitation
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13. (Reply) AE Jones, JA Kline. Clinical Effectiveness of Early Goal Directed Therapy. Chest,
    133:584-585, 2008.

14. (Reply) AE Jones, JA Kline. Economic Considerations in Patients Undergoing Early Goal-
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15. (Reply) JA Kline, MS Runyon, WB Webb, AE Jones, AM Mitchell. Simplify D-Dimer Assay
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Orphaned Abstracts (presented but not published as full-length manuscript):

1. M Koury, MA Puskarich, S Montgomery, AE Jones. Single Nucleotide Polymorphisms in
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CV - Alan E. Jones, MD
2. SA Sterling, MA Puskarich, AE Jones. Organ Dysfunction in Survivors of Septic Shock
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3. SA Sterling, RL Summers, T Coleman, AE Jones. Theoretical Analysis of the Relative
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4. J Davis, M Puskarich, R Summers, JA Kline, AE Jones. Prognostic Value of Peripheral
   Venous Oxygen Tension to Predict an Abnormal Initial Central Venous Oxygen Saturation
   in Emergency Department Patients Undergoing Quantitative Resuscitation for Septic
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5. M Marchick, JA Kline, AE Jones. Systemic Inflammatory Response Syndrome Criteria to
   Identify Low Risk Emergency Department Patients with Suspected Infection. Academic
   Emergency Medicine 17: S54, 2010.

6. MA Puskarich, M Bauknight, J Kline, AE Jones. Effect of Continuous Insulin Infusion on
   Time to Shock Reversal Among Patients with High Dose Vasopressor Dependent Septic
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7. J Walter, AE Jones, M Donnino, D Gaieski, M Goyal, S Trzeciak, N Shapiro. Bacteriology
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8. AE Jones, S Enseleit, JA Kline. Impact of Emergency Department Length of Stay on
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   Medicine 14:187, 2007.

9. N Shapiro, M Goyal, D Gaieski, AE Jones, S Trzeciak. The Relationship of Central Venous
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10. E Smith, AE Jones. Rate if Influenza Infection Among Emergency Department Patients
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11. M Marchick, AE Jones, JA Kline. Logit Based Risk Stratification Tools are Generic
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12. G Snead, V Tayal, AE Jones, M Haley, J Norton, G Rose. Prospective Evaluation of
    Sonographic Inferior Vena Cava and Internal Jugular Vein Measurements to Estimate
    Central Venous Pressure. Academic Emergency Medicine 14:99, 2007.

13. AE Jones, V Yiannibas, JA Kline. Cryptic Shock is Uncommon in Critically Ill Adult
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CV - Alan E. Jones, MD
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16. MS Runyon, WB Webb, AE Jones, JA Kline. Unstructured Clinician Estimate of Low
    Clinical Probability for Pulmonary Embolism is Equivalent to the Canadian Score and the
    Charlotte Rule. Academic Emergency Medicine 11:448, 2004.

17. A Nielson, VS Tayal, AE Jones, J Kellam, M Thomason, J Norton. Accuracy of Ultrasound
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    Enhanced CT Scanning with Ventilation-Perfusion Lung Scanning for Pulmonary
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21. AE Jones, HL Mizelle, RL Summers. Prevalence and Determinants of QT Dispersion in
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22. AE Jones, B Boes, G Haymans, R West, RL Summers, RW Rockhold. Body Weight Gain
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    Medicine 34: S30, 1999.

23. JC Kolb, RL Summers, AE Jones. Effect of Cold Water Immersion of Finger Pulse
    Oximetry Readings. Annals of Emergency Medicine 34: S74, 1999.

24. RL Summers, HL Mizelle, AE Jones, JP Montani. Effect of Primary Changes in Heart Rate
    on Circulatory Dynamics. Annals of Emergency Medicine 34: S48, 1999.

25. J Patch, RL Summers, AE Jones. Effect of the Initiation of Bi-PAP on Hemodynamic
    Stability. Annals of Emergency Medicine 34: S7, 1999.

26. RL Summers, AE Jones, HL Mizelle, LH Woodward. Reduction in Aortic Compliance as a
    Marker of Coronary Disease. Academic Emergency Medicine 6: 421, 1999.

Book Chapters:


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CV - Alan E. Jones, MD
1. SA Sterling, K Henderson, AE Jones. Coordinating Emergency Care Through
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2. NI Shapiro, AE Jones. Sepsis Syndromes. In: Walls, Hockberger, et al eds. Rosen’s
   Emergency Medicine Concepts and Clinical Practice, 9th edn. St. Louis, MO, Mosby, Inc; In
   Press.

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   Medicine Concepts and Clinical Practice, 9th edn. St. Louis, MO, Mosby, Inc; In Press.

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   2013.

7. AE Jones, AC Heffner. Sepsis and Shock with Infection. In: Yealy D, Callaway C eds.
   Emergency Department Critical Care. New York, NY, Oxford University Press 2013.

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   Critical Care Nursing Clinics of North America, 23:115-125, 2011.

9. MA Puskarich, AE Jones. Mitochondrial Function in Septic Shock. In: Vincent JL ed.
   Yearbook of Intensive Care and Emergency Medicine, 32:355-365, 2011.

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    Critical Care Clinics of North America, 25:469-479, 2009.

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13. AE Jones, SA Colucciello, McQuillen KK, Lee P. Maxillofacial Trauma. In: Strange GR,
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14. AE Jones, SA Colucciello. Pediatric maxillofacial trauma. In: Strange G, Ahrens B,
    Lelyveld S, Schafermeyer B eds. Pediatric Emergency Medicine: A Comprehensive Study
    Guide, 2nd edn. New York, NY, McGraw-Hill; 2002.


Select Media Coverage

Television
1) WLBT, WAPT, WJTV, Prime Time News Interview “Spice Outbreak” April 2015.
2) WSOC Charlotte, Prime Time News Interview “Heat Related Illness” July 2010.
3) WLBT Jackson, Medical Matters Interview “Sepsis” November 2012.
4) WLBT Jackson, Prime Time News Interview “Emergency Room Wait Times” January 2014.
5) WLBT, WAPT, WJTV, Prime Time News Interview “Firework Injuries” July 2014.

Print
1) Nature Medicine “Adaptive methods help drug sponsors find best treatment dose” by Elie
    Dolgin www.nature.com/nm/journal/v20/n4/full/nm0414-321.html
2) Vitasearch, “Septic Shock and L-carnitine” August 8, 2013 by Kirk Hamilton.
    www.vitasearch.com/CP/experts/JonesAEAT2013-08-10.pdf
3) Northside Sun, “Clinical Trial at UMMC Could Save Sepsis Patients” January 17, 2013 by
    Jack Mazurak.
4) Mississippi Medicine, “Sepsis Study Explores Carnitine’s Influence” Winter 2013 by Jack
    Mazurak.
5) Centerview, “Sepsis Solution?” September 24, 2012 by Jack Mazurak.
6) ACEP News, “Revised Sepsis Guidelines on the Way” August 2012 by Patrice Wendling.
7) Centerview, “Perfecting the Timing” June 10, 2011 by Jack Mazurak.
8) Charlotte Magazine, “On the Cutting Edge” by Annie Monjar, 2010.
9) The Charlotte Observer, “How One ER Doctor’s Idea Saved Lives” June 2010 by Karen
    Garlouch.
10) ACEP News, “Lactate Measure Eased Therapy for Severe Sepsis” May 2010 by Mary Ann
    Moon.
11) ACEP News, “Non-sustained Hypotension in Sepsis a Red Flag” July 2009.
12) ACEP News, “ED Hypotension Predicts Sudden Hospital Death” January 2007.

Investigational New Drug Applications (IND)

Title: Rapid Administration of Carnitine in sEpsis (RACE) (Phase II)
Role: Sponsor and principle investigator
IND# 107186

Title: L-Carnitine Administration in Early Sepsis (Phase I)
Role: Sponsor and principle investigator
IND# 107186

Title: Rapid Administration of Insulin in Sepsis (Phase I)
Role: Sponsor and principle investigator
IND# 103700


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Patents

US Provisional Application #61987319, Markers for Sepsis Treatment

Active Federal Funded Grants:

1U54GM115428-01                           Wilson(PI)         8/20/2016-8/19/2021
NIH/NIGMS                                 $19,500,000
Mississippi Center for Clinical and Translational Research
Role: Co-Investigator (Research Services Core Leader)

1UH4ES027070-01                         McCormick(PI)    4/1/2016-3/31/2017
NIH/NIEHS                               $314,942
Ebola Biosafety and Infectious Disease Response Training
Role: Co-Investigator

1R01GM113843-01                      Stringer (PI)           4/1/2016-3/31/2020
NIH/NIGMS                            $1,519,750
L-Carnitine Pharmacometabolomics in Sepsis (CaPS)
Role: Co-Investigator

5R01HL118263-03                         Miller (PI)          6/1/2013-5/31/2018
NIH/NHLBI                               $3,726,073
CMR-Impact
Role: Co-Investigator

1K23GM113041-01                         Puskarich(PI)        1/1/2015 – 12/31/2019
NIH/NIGMS                               $770,044
Platelet Activation in Septic Shock
Role: Primary Mentor

1U01 HL123022-01                        Talmor(PI)         6/1/2013- 5/31/2018
NIH/NHLBI                               $ 2,946,933
Clinical Centers for the NHLBI Prevention and Early Treatment of Acute Lung
Role: Co-Investigator

U01CI000353                             Talan(PI)            12/1/13- 11/30/18
CDC                                     $12,000
EMERGEncy ID NET
Role: Co-Investigator

UM1 HL113203-01A1                       Jones/Kline(Co-PI) 10/1/2013 - 9/30/2017
NIH/NHLBI                               $3,234,811
Randomized Trial of Inhaled Nitric Oxide to Treat Acute Pulmonary Embolism
Role: Co-Investigator

R01 HL112815-01A1                       Trzeciak(PI)         4/1/2013- 3/31/2017
NIH/NHLBI                               $ 2,461,725

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CV - Alan E. Jones, MD
Neurological and Cognitive Effects of Hyperoxia After Cardiac Arrest
Role: Co-Investigator

1R01GM103799-01                         Jones(PI)          6/1/2012 – 5/31/2017
NIH/NIGMS                               $ 3,258,709
Carnitine for the Treatment of Vasopressor Dependent Septic Shock
Role: Principal Investigator

1T32HL105324-01                       Granger(PI)        9/20/2015-08/31/2020
NIH/NHLBI                             $1,876,120
Hypertension and Cardiorenal Diseases Research Training Program
Role: Project Faculty

Active Foundation/Association Funded Grants:

Research Fellowship Award            Nandi(PI)            9/1/16-8/31/18
Emergency Medicine Foundation        $150,000
Developing Syndecan-1 as a Biomarker to Identify Sepsis Patients at Risk From Excessive
Fluid Resuscitation
Role: Primary Mentor

Active Industry Funded Grants:

EMROC Contract                         Jones (Site PI)             7/01/14-6/30/17
Novartis                               $1,000,000
RELAX-2 Study (Seralaxin in Heart Failure)
Role: Site PI

Completed Funded Grants:

Federal:

3R01GM103799-03                        Jones (PI)         7/1/2015-6/30/2016
NIH/NIGMS                              $167,645
L-carnitine Treatment for Vasopressor Dependent Septic Shock Collaborative Activities to
Promote Metabolomics Research
Role: Principal Investigator

2R01GM069438-06                         Younger(PI)         9/12/2011-9/11/2015
NIH/NIGMS                               $1,717,276
Complement C5a in Human Sepsis
Role: Co-Investigator

R01GM103799-02S1                        Jones(PI)          6/1/2013 – 5/31/2014
NIH/NIGMS                               $ 99,588
Carnitine for the Treatment of Vasopressor Dependent Septic Shock: Equipment Supplement
Role: PI


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CV - Alan E. Jones, MD
T32HL105324                             Sterling(PI)        1/1/2013- 12/31/2013
NIH/NHLBI                               $41,500
T32 Post-Doctoral Fellowship Training
Role: Primary Mentor

1R18HS18519-01                           Kline(PI)          01/04/10-04/03/13
AHRQ                                     $1,049,113
Quantitative Pretest Probability to Reduce Cardiopulmonary Imaging in the ED
Role: Co-Investigator

3K23GM076652-04S1                   Jones(PI)             8/1/06-7/31/11
NIH/NIGMS                           $105,000
ARRA Supplement to Randomized Clinical Trial of a Less-Invasive Resuscitation Protocol for
Sepsis
Role: Principal Investigator

1K23GM076652-01                         Jones(PI)           8/1/06-7/31/11
NIH/NIGMS                               $600,000
Randomized Clinical Trial of a Less-Invasive Resuscitation Protocol for Sepsis
Role: Principal Investigator

1R42HL086316-01                     Kline(PI)               8/1/06-12/31/09
NIH/NHLBI                           $849,005
Expired CO2/O2 to Diagnose Pulmonary Embolism
Role: Consultant

Industry:

Investigator Initiated Grant           Kline(PI)         6/1/08-5/30/12
Carolinas Healthcare/Genentech         $545,800
Randomized Trial of Tenecteplase to Treat Submassive Pulmonary Embolism
Role: Co-Investigator

Investigator Initiated Grant             Traub(PI)           10/1/07-4/04/11
Cumberland Pharmaceuticals               $600,000
Multicenter Randomized Clinical Trial of N-Acetylcysteine to Prevent Contrast Nephropathy in
Emergency Department Patients
Role: Co-Investigator

Investigator Initiated Grant            Shapiro(PI)         10/1/08-9/30/10
Hutchison Technology Incorporated       $200,000
StO2 Measurements in Sepsis
Role: Co-Investigator

Research Contract                    Jones(PI)           3/01/08-3/01/15
Critical Biologics Corporation       $100,000
Deliverables Were Plasma From Sepsis Patients for Biomarker Analysis.
Role: Principal Investigator

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Industry:

Investigator Initiated Grant           Schutz(PI)           1/1/12-12/31/14
Thermo-Scientific                      $1,000,000
Procalcitonin and Outcome in Septic Shock (MOSES)
Role: Site-Investigator

Foundation:

Medical Student Research Project        Scott(PI)              11/1/13-5/1/16
University of Mississippi SOM           $6000
Use of a Mass Spectrometer System for Human Blood Bacterial Identification: Implications for
Antibiotic Stewardship and Cost Savings
Role: Primary Mentor

IRSP                                   Puskarich(PI)              7/1/13-6/30/14
University of Mississippi MC           $30,000
Platelet Bioenergetics in Human Sepsis
Role: Primary Mentor

Career Development Award                Puskarich(PI)             7/1/13-6/30/14
Emergency Medicine Foundation           $50,000
Mitochondrial Dysfunction in Early Severe Sepsis
Role: Primary Mentor

Medical Student Research Project        Scott(PI)         5/1/13-9/1/13
University of Mississippi SOM           $2500
Relative Value of Lactate and Central Venous Oxygen Saturation for Predicting Outcome in
Septic Shock
Role: Primary Mentor

10POST3560001                            Puskarich(PI)      7/01/10-6/30/12
AHA Post-Doctoral Fellow                 $82,000
L-Carnitine Administration in Early Sepsis
Role: Primary Mentor

SRG10-004                                  Puskarich (PI)   7/1/2010-6/31/2012
Cannon Research Grant                      $32,000
L-carnitine administration in early sepsis
Role: Primary Mentor

Small Project Grant                       Jones(PI)         12/01/08-11/30/09
Cannon Research Center                    $20,000
Rapid Administration of Insulin in Sepsis: A Pilot Study
Role: PI

Established Investigator Grant           Jones(PI)          8/28/06-8/27/09

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CV - Alan E. Jones, MD
Carolinas Health Services Foundation $29,020
Development, Implementation and Maintenance of Electronic Case Report Forms for a
Randomized Clinical Trial of a Less-Invasive Resuscitation Protocol for Sepsis
Role: Principal Investigator

Capnometry CDA                         Jones(PI)          7/1/07-6/30/08
Emergency Medicine Foundation          $50,000
The Use of Capnography to Identify Elevated Lactate and Lactate Clearance in Emergency
Department Patients with Severe Sepsis and Septic Shock
Role: Principal Investigator

Career Development Award            Mitchell(PI)      7/1/07-6/30/08
Emergency Medicine Foundation       $50,000
Contrast Nephropathy from Computed Tomography Angiography in the Emergency
Department
Role: Primary Mentor

Resident Research Award                 Leonard(PI)        7/1/06-6/30/07
Carolinas Health Services Foundation $6280
Determination of the Contribution of Time and Tourniquet Use to Elevation of Whole Blood
Lactate Concentrations
Role: Primary Mentor

Resident Research Award                 Smith(PI)            7/1/06-6/30/07
Carolinas Health Services Foundation $12,648
Rate of Influenza Infection Among Adult Patients Admitted to the Hospital with Severe Sepsis
and Septic Shock During Influenza Season
Role: Primary Mentor

Career Development Award                Jones(PI)        7/1/04-6/30/05
Emergency Medicine Foundation           $50,000
Diagnostic Significance of Nontraumatic Emergency Department Hypotension.
Role: Principal Investigator

Young Investigator Grant               Jones(PI)           4/1/04-7/1/05
Carolinas Health Services Foundation $39,975
Design and Implementation of Diagnostic Significance of Nontraumatic Emergency
Department Hypotension.
Role: Principal Investigator

NCN Medical Student Grant               Jones(PI)           5/1/00-9/1/00
University of Mississippi SOM           $2500
Contractile Responsiveness of Isolated Papillary Muscles from Obese Rabbits to
Isoproterenol.
Role: Principal Investigator

National/International Oral Research Presentations:


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CV - Alan E. Jones, MD
1) SAEM Annual Meeting – Gallery of Excellence “Randomized Controlled Trial of Safety and
Efficacy of L-carnitine Infusion for the Treatment of Vasopressor-Dependent Septic Shock”
Atlanta, GA, May 2013.

2) SAEM Annual Meeting – Plenary Session “Whole Blood Lactate Kinetics in Patients
Undergoing Quantitative Resuscitation for Septic Shock” Chicago, IL, May 2012.

3) 6th MEMC “Whole Blood Lactate Kinetics in Patients Undergoing Quantitative Resuscitation
for Septic Shock” Kos, Greece, September 2011.

4) SAEM Annual Meeting “Pilot Study of Glucose-Insulin-Potassium Treatment for
Vasopressor Dependent Septic Shock” Boston, MA, June 2011.

5) SAEM Annual Meeting – Plenary Session “Effect of Timing of Antibiotic Administration and
Mortality in Emergency Department Patients with Sepsis” Boston, MA, June 2011.

6) SAEM Annual Meeting “Cost-Effectiveness of an Emergency Department Based Early
Sepsis Resuscitation Protocol: A Prospective Study” Phoenix, AZ, June 2010.

2) SCCM Congress “Multi-Center Randomized Controlled Trial of Lactate Clearance Versus
Central Venous Oxygen Saturation as the Endpoint of Early Sepsis Resuscitation” Miami, Fl,
January 2010.

3) SAEM Annual Meeting “Multi-Center Randomized Controlled Trial of Lactate Clearance
Versus Central Venous Oxygen Saturation as the Endpoint of Early Sepsis Resuscitation” New
Orleans, LA, May 2009.

4) SAEM Annual Meeting “Emergency Department Hypotension Predicts Sudden Unexpected
In-Hospital Mortality” San Francisco, CA, May 2006.

5) SAEM Annual Meeting “Deep Venous Thromboembolism Prophylaxis Does Not Alter the
Frequency of Development of In-Hospital Thromboembolic Events in Patients Admitted From
the Emergency Department” San Francisco, CA, May 2006.

6) SAEM SE Regional Meeting. “End-Tidal Oxygen Concentration to Predict Central Venous
Oxygen Saturation” Greensboro, NC, March 2006.

7) 28th Annual Conference on Shock “Severity of Emergency Department Hypotension
Predicts Adverse Hospital Outcome” Marco Island, FL, June 2005.

8) ACEP Research Forum – Plenary Session “Validated Physiologic Scoring Systems are
Inadequate for Predicting In-Hospital Mortality Among Critically Ill Emergency Department
Patients” San Francisco, CA, October 2004.

9) SAEM Annual Meeting “Randomized Controlled Trial of Immediate Versus Delayed Goal-
Directed Ultrasound to Identify the Cause of Nontraumatic Hypotension in Emergency
Department Patients” Orlando, FL, May 2004


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CV - Alan E. Jones, MD
10) SAEM Annual Meeting “Non-traumatic Prehospital Hypotension Predicts In-Hospital
Mortality” Boston, MA, May 2003

11) 25th Annual Conference on Shock “Inhibition of Prostaglandin Synthesis During
Experimental Massive Pulmonary Embolus in the Rat” Big Sky, MT, June 2002

12) SAEM Annual Meeting “Inhibition of Prostaglandin Synthesis During Experimental Massive
Pulmonary Embolus in the Rat” St. Louis, MO, May 2002

13) 80th Annual Session American College of Physicians “Superior Mesenteric Vein
Thrombosis as a Presenting Manifestation of Chronic Lymphocytic Leukemia” New Orleans,
LA, April 1999

14) Twelfth Scientific Meeting of the American Society of Hypertension “Reduced Response of
Isolated Papillary Muscles to Isoproterenol in Obese Rabbits” San Francisco, CA, May 1997

Invited Oral Platform (non-research) Presentations:

National

1) SAEM Grantsmanship Workshop “What Grants Are Out There” New Orleans, LA, May
   2016.

2) Southeastern Emergency Medicine Annual Conference (SEEMAC) “Mechanical Ventilation
   101”, New Orleans, LA, April 2016.

3) Southeastern Emergency Medicine Annual Conference (SEEMAC) “How to Read a Head
   CT”, New Orleans, LA, April 2016.

4) ICARE Conference, “Updates in Sepsis Management”, Fayetteville, AR, July 2015.

5) Southeastern Emergency Medicine Annual Conference (SEEMAC) “Sepsis”, New Orleans,
   LA, May 2015.

6) SAEM Annual Meeting “New Concepts in Sepsis Care” San Diego, CA, May 2015.

7) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” San Diego, CA,
   May 2015.

8) Trinity Health, “Sepsis Chart Review”, Guest Commentator, Boise, ID, July 2014.

9) SAEM Annual Meeting “Early Care of Septic Shock: New Data and How Does it Fit?”
   Moderator, Dallas, TX, May 2014.

10) SAEM Annual Meeting “Junior Faculty Forum: Leadership” Dallas, TX May 2014.

11) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” Dallas, TX, May
    2014.

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CV - Alan E. Jones, MD

12) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” Atlanta, GA, May
    2013.

13) SAEM Annual Meeting “Leadership Across Generations” Atlanta, GA, May 2013.

14) SAEM Annual Meeting, “Fostering Academic Productivity and Research for All Faculty”
   Atlanta, GA, May 2013.

15) Indiana ACEP – Keynote Address “What Survived in the Surviving Sepsis Campaign
   Guidelines 2012” Indianapolis, IN, May 2013

16) Emergencies in Medicine Conference “What Survived in the Surviving Sepsis Campaign
    Guidelines 2012” Park City, Utah, March 2013.

17) Greater New York Hospital Association 4th Annual Symposium on Controversies in Critical
    Care “Lactate clearance is Better Than CVP and Scv02 for Early Sepsis Resuscitation”
    New York City, NY, February 2013.

18) Current Concepts in Emergency Care Conference “Sepsis” Maui, HI 2012.

19) Current Concepts in Emergency Care Conference “Vasopressors” Maui, HI 2012.

20) SAEM Annual Meeting “Leadership Across Generations” Chicago, IL 2012.

21) SAEM Annual Meeting Resident Leadership Forum “Enhancing Your Leadership Skills”
    Chicago, IL 2012.

22) SAEM Annual Meeting “Surviving Sepsis Campaign 2012: An Update on
    Recommendations for Emergency Physicians” Chicago, IL, June 2012.

23) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” Chicago, IL, June
    2012.

24) Greater New York Hospital Association Stop Sepsis Collaborative Conference “Lactate
    Clearance as an Important Goal of Early Sepsis Therapy” New York City, NY, February
    2012.

25) ACEP Research Forum “Grant Writing: EMF Career Development Grants” San Francisco,
CA, October 2011.

26) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” Boston, MA, June
2011.

27) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” Phoenix, AZ,
June 2010.



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CV - Alan E. Jones, MD
28) SAEM Annual Meeting “Conducting a High Quality RCT: From Design to Implementation”
New Orleans, LA, May 2009.

29) SAEM Grantsmanship Workshop “Responding to Reviews and Revising” New Orleans, LA,
May 2009.

30) AAEM Annual Meeting, “Do You Have to Practice EGDT Exactly as Published?” Phoenix,
Az, March 2009.

31) USCIITG Inaugural Meeting “Role of Professional Societies” Washington, DC, November
2008.

32) SAEM Grantsmanship Workshop “Lessons From an Early Career Development Award”
Washington, DC, May 2008.

33) AIUM Symposia, Use of Ultrasound in the Critically Ill and Injured “The Septic Patient:
Preload, Afterload, and Cardiac Function: The Utility of Ultrasound in Diagnosis and Therapy”
San Diego, CA, March 2008.

34) Harvard Medical School/Beth Israel Deaconess Medical Center Shock Symposia
“Undifferentiated Shock: Ultrasound and Beyond” Boston, MA, June 2007.

35) SAEM Annual Meeting “Translating Research into Clinical Practice: Experiences and
Observations from Implementing Early Goal-Directed Therapy for Sepsis in the Emergency
Department” Chicago, IL, May 2007.

36) SAEM Annual Meeting “New Methods, Markers, and Devices to Diagnose and Risk-Stratify
Non-Traumatic Circulatory Shock” New York City, NY, May 2005.

37) SAEM Annual Meeting “Implementing and Optimizing Morbidity and Mortality Conference”
Boston, MA, May 2003.

38) CPC Semi-Finals, SAEM Annual Meeting “Flank Pain in a Young Male” Atlanta, GA, May
2001.

International

1) 7th Annual Mediterranean Emergency Medicine Congress. “Evolution of Emergency
Medicine in the US” Marseille, France, September 2013.

2) 7th Annual Mediterranean Emergency Medicine Congress. “Lactate in ED Sepsis” Marseille,
France, September 2013.

3) 3rd Paris International Conference on Intensive Care. “Lactate Clearance”. Paris, France,
June 2013.

4) 14th International Conference of Emergency Medicine. “Clinical Trials in the ED Setting”.
Dublin, Ireland, June 2012.

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CV - Alan E. Jones, MD

5) 14th International Conference of Emergency Medicine. “Vasopressors in Sepsis”. Dublin,
Ireland, June 2012.

6) 2nd Paris International Conference on Intensive Care, “Targeting Lactate Clearance”. Paris,
France, June 2012.

7) 32nd International Symposium on Intensive Care and Emergency Medicine. “Lactate in the
ED”. Brussels, Belgium, March 2012.

8) 32nd International Symposium on Intensive Care and Emergency Medicine. “ScvO2 -
 Targets for Resuscitation”. Brussels, Belgium, March 2012.

9) 32nd International Symposium on Intensive Care and Emergency Medicine. “High Dose
Insulin in Septic Shock”. Brussels, Belgium, March 2012.

10)    6th Annual Mediterranean Emergency Medicine Congress. “Lactate in ED Shock: What
Does it Mean and How Do I Use It?” Kos, Greece, September 2011.

11)   5th Dutch North Sea Emergency Medicine Conference. “Treating Sepsis in 2011”.
Amsterdam, Netherlands, June 2011.

12)   31st International Symposium on Intensive Care and Emergency Medicine. “Endpoints
of Resuscitation: Lactate versus ScvO2”. Brussels, Belgium, March 2011.

13)   5th Annual Mediterranean Emergency Medicine Congress. “Optimal Endpoints of Early
Sepsis Resuscitation”. Valencia, Spain, September 2009.

14)    29th International Symposium on Intensive Care and Emergency Medicine. “Early Goal
Directed Therapy: What is the Evidence”. Brussels, Belgium, March 2009.

15)   29th International Symposium on Intensive Care and Emergency Medicine. “Lactate
Versus ScvO2 as a Target”. Brussels, Belgium, March 2009.

16)   29th International Symposium on Intensive Care and Emergency Medicine. “The
Hypotensive Patient – Unknown Origin”. Brussels, Belgium, March 2009.

17)   29th International Symposium on Intensive Care and Emergency Medicine. “Early
Sepsis Resuscitation”. Brussels, Belgium, March 2009.

18)    4th Annual Mediterranean Emergency Medicine Congress. “Approach to Diagnosis in
Undifferentiated Shock”. Sorrento, Italy, September 2007.

19)  3rd Annual Mediterranean Emergency Medicine Congress. “New Management Issues in
Emergency Department Shock”. Nice, France, September 2005.

Regional


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CV - Alan E. Jones, MD
1) Keynote Address, Healthcare Quality Summit 2016. “Sepsis”. Jackson, MS, April 2016.

2) Keynote Address, UM/UMMC Research Day. “Adaptation and Precision: A New Approach
to Clinical Trials”. Jackson, MS, March, 2016.

3) APSA Regional Meeting, “Finding a Mentor”, Jackson, MS, January 2016.

4) Advance Disaster Life Support. “Disaster Basics”. Jackson, MS March, 2014.

5) Jackson Academy Coach Seminar. “Exercise Induced Hyponatremia”. Jackson, MS,
September 16, 2014.

6) UMMC K-Writer Workshop. “K-Award Experience”. Jackson, MS, September 11, 2014.

7) Mississippi ACEP Conference. “eFAST – Hands on Training”. Jackson, MS, August 9, 2013.

8) Premier Quest Sprint Conference. “Code Sepsis Initiative”. Charlotte, NC, January 19, 2011.

9) Cannon Clinical and Translational Research Conference. “Clinical Trial Safety Monitoring”.
Charlotte, NC, December 10, 2009.

10)  Mecklenburg EMS Agency. “Pre-hospital Management of Sepsis”. Charlotte, NC,
November 9, 2009.

11)    NCCEP and Wake Med Fall Conference. “Emergency Department Treatment of Sepsis
in the Year 2008”. Asheville, NC, September 22, 2008.

12)  North Carolina College of Emergency Physician Annual Meeting. “New Concepts in the
Management of Severe Sepsis in the ED”. Myrtle Beach, SC, June 14, 2008.

13)   Piedmont Emergency Medicine Associates, “Sepsis Resuscitation in the ED”. Charlotte,
NC, January 11, 2006.

14)     Society of Critical Care Medicine Carolina/Virginia 23rd Annual Scientific Symposium
“Trials and Tribulations of Transporting Critically Ill Patients”. Charlotte, NC, June 2005.

Grand Rounds/Visiting Professorships:

 1)    Department of Emergency Medicine, Carolinas Medical Center, 40th Residency Reunion
and the Future of Emergency Medicine Medical Education, September 2016.

 2) Department of Emergency Medicine, Carolinas Medical Center, Resident Academic Day,
June 2014.

3) Department of Emergency Medicine, Georgetown University, “What Survived in the
Surviving Sepsis Campaign Guidelines 2012” July 2013.

4) Department of Emergency Medicine, University of Arkansas Medical Center, “What Survived
in the Surviving Sepsis Campaign Guidelines 2012” April 2013.


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CV - Alan E. Jones, MD

5) Department of Emergency Medicine, New York Presbyterian Columbia, “Lactate in the ED”
August 2012.

6) Department of Emergency Medicine, Louisiana State University School of Medicine,
“Lactate in the ED” May 2012.

7) Department of Emergency Medicine, Northwestern University School of Medicine,
“Evolving Strategies in Early Sepsis Management” November 2011.

8) Department of Emergency Medicine, Indiana University School of Medicine, “Evidence
Based Approach to Vasopressor Use in the ED” October 2011.

9) Medical Staff Grand Rounds, Waccama Community Hospital, Myrtle Beach, SC, “Code
Sepsis Initiative” August 2011.

10)   Department of Emergency Medicine and Traumatology, University of Connecticut
Health Center, “Evidence Based Approach to Vasopressor Use in the ED” July 2011.

11) Departments of Emergency Medicine and Critical Care, Cooper University Hospital Grand
Rounds, “New Insights from the Lactates Trial” February 2011.

12) Department of Emergency Medicine, University of Pennsylvania Grand Rounds, “New
Insights from the Lactates Trial” February 2011.

13) Cannon Research Center, Research Seminar, “New Initiatives in Sepsis Research”
October 2010.

14) Department of Emergency Medicine, University of North Carolina Chapel Hill Grand
Rounds “Evolving Strategies in Early Sepsis Management” July 2010.

15) Department of Emergency Medicine, Georgetown University Grand Rounds “Evolving
Strategies in Early Sepsis Management” July 2010.

16) Department of Emergency Medicine, State University of New York, Stoneybrook Grand
Rounds “Post Cardiac Arrest Syndrome” May 2009.

17) Department of Emergency Medicine, University of Michigan Grand Rounds “Quantitative
Resuscitation for Early Sepsis: From Evidence to Implementation.” August 2008.

18) Department of Emergency Medicine, State University of New York, Stoneybrook Grand
Rounds “Use of Echocardiography in Emergency Department Hypotension” April 2006.

19) University of Mississippi Medical Center, Department of Emergency Medicine Grand
Rounds “Ultrasound in Undifferentiated Hypotension” November 2002.

20) Carolinas Medical Center, Department of Surgery, Division of Trauma and Critical Care,
Grand Rounds, “Stump the Experts: Unusual Trauma Cases” September 2002.

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CV - Alan E. Jones, MD

Web Sites Owned:

Emergency Medicine Shock Research Network, www.emshocknet.com (expired)

BioEdge Research, www.bioedge.us (expired)

Scholarly Course Faculty:

1) SEEMAC “Cadaver Procedural Laboratory” Course Director. Sponsor: Department of
Emergency Medicine, University of Mississippi Medical Center, 2015- Present

2) “Carolinas Shock Symposia” Course Co-Director and Lecturer. Sponsor: Department of
Emergency Medicine, Carolinas Medical Center. Given 2004-2011.

3) “Use of Pretest Probability to Reduce Unnecessary Test Ordering in the Emergency
Department” Faculty and Co-Author. Sponsor: Breathquant, Inc. Available online, January
2004. http://www.studymaker.com/courses/welcome/ptp.htm.

4) “Evidence Based Medicine: The Basics” Course Director and Lecturer. Sponsor,
Department of Emergency Medicine, Carolinas Medical Center. Monthly lecture series given
bi-annually 2003-2010.

5) “The Emergency Ultrasound Course” Practical Laboratory Faculty. Sponsor: South Carolina
ACEP. September 2002, Charlotte, NC.

Individuals Formally Mentored in Research/Career Development:

Junior Faculty
Chad Washington, MD. Neurosurgery Faculty 2015-Present.
Project Title: Sildenafil in the Treatment of Subarachnoid Hemorrhage
Status: KL2 funded

Faheem Gurgis, MD. Emergency Medicine Faculty 2012-Present.
Project Title: Role of Dysfunctional-HDL in the Pathophysiology of Sepsis
Status: K23 funded

Sarah Sterling, MD. Emergency Medicine Faculty 2014-Present.
Project Title: Comparative Effectiveness of Telemergency Care Delivery
Status: IDeA award submitted

Amiee Parnell, MD. Pediatric Cardiology Faculty, 2013- Present.
External Career Development Mentor/Advisor

Michael Puskarich, MD. Emergency Medicine Faculty, 2012- Present.
Project Title: Mitochondrial Function in Septic Shock
Status: K23 Funded


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CV - Alan E. Jones, MD
Alice Mitchell, MS, MD. Emergency Medicine Faculty, 2007- 2011.
Project Title: Contrast Nephropathy From Computed Tomography Angiography in the
       Emergency Department.
Status: EMF and HSF grant funded, Published, CJASN, 2010.

Stacey Reynolds, MD. Emergency Medicine Faculty, 2009- 2011.
Project Title: Diagnostic Testing in Blunt Pediatric Abdominal Trauma.
Status: Abstract presented, SAEM 2012.

Fellows
Utsav Nandi, MD. Emergency Medicine Research Fellow 2016-2018
Project Title: Developing Syndecan-1 as a Biomarker to Identify Sepsis Patients at Risk From
       Excessive Fluid Resuscitation
Status: Funded, Emergency Medicine Foundation; Data Collection Ongoing

Sarah Sterling, MD. Emergency Medicine Research Fellow 2012-2014
Project Title: Preemptive Resuscitation for Eradicating Septic Shock

Michael Puskarich, MD. Emergency Medicine Research Fellow, 2010- 2012
Project Title: L-Carnitine in the Treatment of Septic Shock
Status: Funded, AHA

Michael Marchick, MD. Emergency Medicine Research Fellow, 2008- 2010
Project Title: The Significance of Non-Sustained Hypotension in Emergency Department
       Patients with Sepsis
Status: Published, Intensive Care Medicine, 2010

Richard P. Medlin, MD. Emergency Medicine Research Fellow, 2009-2010
Project Title: Integration of Informatics in Emergency Medicine
Status: Entered NC-CH Medical Informatics Fellowship

Residents
Allison Barrett, MD. Emergency Medicine Resident, 2013
Project Title: Utilizing Geographic Information Systems to Identify Clusters of Severe Sepsis
       Patients Presenting in the Out of Hospital Environment
Status: Manuscript submitted.

Michael Koury, MD. Emergency Medicine Resident, 2012.
Project Title: Significance of SNPs in Patients with Repeat Sepsis
Status: Abstract Presented, SAEM Annual Meeting, 2013.

Sarah Sterling, MD. Emergency Medicine Resident, 2012.
Project Title: Outcomes of Patients with Vasoplegic verus Tissue Dysoxic Septic Shock
Status: Abstract Presented, SAEM Annual Meeting, 2012.

Stephen Baker, MD. Emergency Medicine Resident, 2012.
Project Title: Characterization of the Spectrum of Hemodynamic Profiles in Trauma Patients
       with Acute Neurogenic Shock

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CV - Alan E. Jones, MD
Status: Abstract Presented, SAEM Annual Meeting, 2012; Published, Journal of Critical Care
       2013.

Brent Lorenzen, MD. Emergency Medicine Resident, 2010.
Project Title: The Significance of Intermediate Range Blood Lactate Elevation in Emergency
       Department Patients with Infection: A Systematic Review
Status: Abstract Presented, SAEM Annual Meeting, 2010.

Melanie Artho, MD. Emergency Medicine Resident, 2010.
Project Title: The Impact of Emergency Medical Services in the Care of Severe Sepsis
Status: Published, American Journal of Emergency Medicine, 2010.

Michael Puskarich, MD. Emergency Medicine Resident, 2009.
Project Title: One Year Mortality of Patients Treated With an Emergency Department Based
       Early Goal Directed Therapy Protocol for Severe Sepsis and Septic Shock.
Status: Published, Critical Care, 2009.

Erin Smith, MD. Emergency Medicine Resident, 2007.
Project Title: Rate if Influenza Infection Among Emergency Department Patients Admitted to
       the Hospital with Severe Sepsis and Septic Shock during Influenza Season.
Status: HSF Grant Funded; Abstract presented 2007 MEMC, Sorrento Italy, September 2007.

Kristen Saak, MD. Emergency Medicine Resident, 2007.
Project Title: Performance of the MEDS Score for Predicting In-Hospital Mortality Among
       Emergency Department Patients with Severe Sepsis.
Status: Published, American Journal of Emergency Medicine, 2008.

Matthew Leonard, MD. Emergency Medicine Resident, 2006.
Project title: Determination of the Contribution of Time and Tourniquet Use to Elevation of
       Whole Blood Lactate Concentrations.
Status: HSF Grant Funded; Published, Academic Emergency Medicine, 2007.

Stephen Enseleit, MD. Emergency Medicine Resident, 2006.
Project title: Clinical Impact of Emergency Department Length of Stay in Critically Ill Adult
       Emergency Department Patients.
Status: Abstract presented, SAEM Annual Meeting, 2007.

James Fiechtl, MD and Jason Ballew, MD. Emergency Medicine Residents, 2005-2006.
Project title: The Utility of Procalcitonin to Predict Bacteremia in Ambulatory Patients: A Meta-
       Analysis.
Status: Published, Annals of Emergency Medicine, 2007.

Patrick A. Craddock, MD. Emergency Medicine Resident, 2004-2005.
Project title: Diagnostic Accuracy of Left Ventricular Function for Sepsis Among Emergency
       Department Patients with Non-Traumatic Undifferentiated Shock.
Status: Published, Shock, 2005.

Michael Fitch, MD, PhD. Emergency Medicine Resident, 2003-2004.

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CV - Alan E. Jones, MD
Project title: Operational Performance of Validated Physiologic Scoring Systems in Critically Ill
       Emergency Department Patients.
Status: Manuscript Published, Critical Care Medicine, 2004.

Amiee Neilson, MD. Emergency Medicine Resident, 2002-2003.
Project title: Diagnostic Accuracy of Focused Assessment in Trauma Ultrasound in Major
        Pelvic Injury.
Status: Manuscript Accepted, Journal of Trauma, 2005.

Medical Students
Ben Illch, MS4. Medical Student, 2013.
Project Title: The Significance of Intermediate Range Blood Lactate Elevation in Emergency
       Department Patients with Infection: A Systematic Review
Status: Published, Journal of Critical Care, 2014

Jamie Scott, MS1-4. Medical Student, University of Mississippi Medical Center, 2013.
Project title: Diagnostic Performance of Matrix-Assisted Laser Desorption Ionization Time-of-
       Flight Mass Spectrometry in Blood Bacterial Infections: A Systematic Review and Meta-
       analysis.
Status: Manuscript submitted

Andrew Fredricks, MS3-4. Medical Student, University of Mississippi Medical Center, 2013.
Project title: Modeling Lactate Clearance and Central Venous Oxygen Saturation.

Douglas Swords, MS2. Medical Student, Wake Forest University, 2010.
Project title: Association Between Timing of Antibiotic Administration and Mortality in
        Emergency Department Patients with Severe Sepsis.
Status: Published, Critical Care Medicine, 2011.

Micheal Stuerwald, MS4. Medical Student, UNC Chapel Hill, 2009.
Project title: One year Mortality of Patients Treated With an Emergency Department Based
        Early Goal Directed Therapy Protocol for Severe Sepsis and Septic Shock
Status: Published, Critical Care. 2009.

Zachary W. Fordham, MS4. Medical Student, University of Mississippi SOM, 2005.
Project title: Validation of a Rule to Identify Patients at High Risk for Hospital Acquired Venous
        Thromboembolism.
Status: Published, Journal of Thrombosis and Thrombolysis, 2007.

Undergraduate Students
Robert Tramel. University of Mississippi Thesis Scholar, 2016
Project title: The Significance of Platelet Microparticles in Sepsis
Status: Ongoing.

Andrew Morris, BS. Cannon Summer Scholar, 2009.
Project title: Circulatory Insufficiency After Resuscitation From Cardiac Arrest (CircARREST)
Status: Published, Critical Care Medicine, 2014.


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CV - Alan E. Jones, MD
Karl Kuehue, BS. Undergraduate Honor Thesis Project, 2004-2005.
Project title: Development of a Non-Invasive Method of Estimating SVO2.
Status: Published, BMC Emergency Medicine 2006.

Community Service:

Stewpot Community Kitchen, Quarterly Service                     2015- Present

Community Health Services
         Board of Directors                                     2004- 2006
         Clinical Policy Committee                              2004- 2006
         Fund Development Committee                             2004- 2006

Medical Response Team, Forest Hill Church                        2004- 2008

Beverly Woods East Board of Directors                            2009- 2010

Community Lecture, “The Physical Death of Jesus Christ”. Pastoral Care and Counseling
Rounds, Carolinas Medical Center. March 2010.

Community Lecture, “The Physical Death of Jesus Christ”. Hawthorne Lane Methodist Church.
April 2007.

Awards/Honors:

MEDICAL SCHOOL

   1999      John Houston Wear Foundation Scholarship
   1999      F. A. Hunt Scholarship
   1999      Wallace S. Leathers Award (highest 4 year academic average)
   1999      Phi Kappa Phi Honor Society
   1999      SAEM Excellence In Emergency Medicine Award
   1999      General Surgery Award
   1999      American College of Physicians, Certificate of Merit
   1998      American Society of Clinical Pathologists Award
   1998      Thomas J. Brooks, Jr. Award in Preventive Medicine
   1998      Rice-Holland Memorial Award
   1998      Bradley Baker Memorial Scholarship
   1997-99   Dean’s Scholarship
   1997      American Society of Hypertension Travel Grant Award
   1997      Williams &Wilkins Medical Neurobiology Award
   1997      Alpha Omega Alpha Student Research Award
   1997-99   Alpha Omega Alpha Medical Honor Society (Chapter President)

RESIDENCY



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CV - Alan E. Jones, MD
   2002     Finalist, SAEM Resident Basic Science Oral Presentation Award, SAEM Annual
             Meeting, St. Louis, May 2003.
   2002     Outstanding Resident Research Achievement Award, Emergency Medicine,
             Carolinas Medical Center
   2002     Outstanding Senior Resident Award, Emergency Medicine, Carolinas Medical
             Center
   2001     Chief Resident, Emergency Medicine

FACULTY

   2016     Platinum Award for Excellence in Research, University of MS Medical Center
   2016     Best Faculty Lecture, Department of Emergency Medicine, UMMC
   2016     SAEM Outstanding Contribution in Research Award
   2015     UMMC Outstanding Achievement in Clinical Research Award
   2015     James Kolb Outstanding Academician Award, UMMC Emergency Medicine
   2015     Q Award UMMC – Promoting Patient Safety and Quality Care
   2013     Gold Award for Excellence in Research, University of Mississippi Medical Center
   2013     Clinical Star, UMMC Department of Emergency Medicine, March 2013
   2013     Presidential Citation, Society for Academic Emergency Medicine
   2012     Silver Award for Excellence in Research, University of Mississippi Medical Center
   2012     SAEM Best Faculty Presentation Award
   2011     Top 40 Under 40 Nominee, Mississippi Business Journal
   2011     Trailblazer Award, Emergency Medicine Foundation
   2010     Silver Award, CHS Sharing Day for Code Sepsis
   2010     Senior Reviewer, Annals of Emergency Medicine
   2010     Finalist, SAEM Established Investigator Clinical Science Oral Presentation Award
   2009     Senior Reviewer, Annals of Emergency Medicine
   2008     Carolinas Healthcare System, Record Breaker Award
   2008     Senior Reviewer, Annals of Emergency Medicine
   2008     The Joint Commission (JCAHO) Ernest A Codman Award, Carolinas Medical
             Center Code Sepsis Program, Team Leader
   2007     Senior Reviewer, Annals of Emergency Medicine
   2007     Top Peer Reviewer Award, Annals of Emergency Medicine
   2006     Finalist, SAEM Young Investigator Clinical Science Oral Presentation Award
   2006     Senior Reviewer, Annals of Emergency Medicine
   2006     Top Peer Reviewer Award, Annals of Emergency Medicine
   2006     Outstanding Peer Reviewer Award, Academic EM Journal
   2006     Best Faculty Oral Research Presentation, SAEM SE Regional Meeting
   2005     Top Peer Reviewer Award, Annals of Emergency Medicine
   2005     Outstanding Peer Reviewer Award, Academic EM Journal
   2005     SAEM Young Investigator Award
   2004     Values in Action Award, Carolinas Healthcare System
   2004     SAEM Young Investigator Clinical Science Oral Presentation Award




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                          EXHIBIT B




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      Depositions

      2013
      Brown v. Musicante et al, Tennessee

      Bucciere v. Patel et al, Ohio

      Hicks v. Watkins et al, North Carolina

      Coonts v. Messner et al, Missouri


      2014
      Ward v. Morin et al, North Carolina

      Hafler v. Levine et al, Arizona

      Lowman v Huggins et al, North Carolina

      Wise v Brandenburg et al, Oklahoma

      Quinney v. Pheobe Putney et al, Georgia


      2015
      Franklin v. Pitcock et al, Mississippi

      Memenga v Brady et al, Missouri

      Hayes v. McNeil et al, Alabama (FEDERAL)

      Taylor v. McNeil et al, New Jersey (FEDERAL)

      Kutmas v. et al, Missouri

      Cantu v. Herring et al, Alabama

      Hodges v Warden, South Carolina

      Ansley v. Domingo, Alabama

      Gumarin v. Hill, Georgia

      Harris v. Christopher, Tennessee

      Brown v. Tisdale, Alabama



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      2016
      Mohrmann v. Virtua Health et al

      Reis v. Cunningham, Ohio

      Abushaer v. Franklin, Tennessee

      Hoaglin v. Cox Health, Missouri

      Gartrell v. Carter, South Carolina



      Trials

      2013
      Rogers v Jackson et al, Tennessee

      Katy v Riser et al, North Carolina


      2014
      Hicks v. Watkins et al, North Carolina

      Coonts v. Messner et al, Missouri


      2015
      Memenga v Brady et al, Missouri

      Quinney v Pheobe Putney et al, Georgia


      2016
      Cantu v. Herring et al, Alabama

      Ingram v. Ursal, Boland, Pardee et al, North Carolina

      Brown v Tisdale, Alabama

      Ansley v. Domingo, Alabama




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                          EXHIBIT C




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2015 Fee Schedule for Alan E. Jones, MD, FACEP

Initial case acceptance and review fee: $1500.00

Standard hourly rate: $400.00/hour
       Case or deposition review, phone calls or meetings, research used in deposition or
         preparation of written reports, preparation for deposition or trial

Depositions: $750.00/hour, $2250.00 per day minimum
      $2250.00 for each day reserved for scheduled deposition ($2250 represents minimum fee
          for each scheduled deposition).
      Add $750/hour for each hour after 3 hours of deposition.

Trial: $1500.00/hour, $3000.00 per day minimum
         $3000.00 for each day reserved for trial.
         $1500/hour for courtroom testimony in addition to $3000.00 for each day reserved for trial.

Travel: T&E plus $100 per hour with cap
        T&E: Transportation, hotel and meals reimbursed with receipts.
        $100/hour door-to-door, maximum $1200/day, in addition to T&E.


Examples:

Please sign and date to agree to the above stated fees, including the examples given in the
attachment, and return.


                           ________________________________________
                                        Signature

                           ________________________________________
                                        Date




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                          EXHIBIT D




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        40.    Plaintiff Dora Mingo Medical Records - All medical records as of 12/15/2016



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                                   ARTICLE/DOCUMENT
        41.    Renie Jordan, MD 08/12/2016 Deposition transcript and exhibits
        42.    Stephen Keith, MD 08/11/2016 Deposition transcript and exhibits
        43.    Dora Mingo 06/20/2016 Deposition transcript and exhibits
        44.    Xareleto Label Nov. 2011
        45.    Xarelto Medication Guide Nov. 2011
        46.    Xareleto Label Nov. 2012
        47.    Xarelto Medication Guide Nov. 2012
        48.    Xareleto Label March 2013
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        50.    Xareleto Label August 2013
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        56.    Xareleto Medication Guide May 2016




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